     Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24       Page 1 of 211 Page ID
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 1    Jody Goodman (DC Bar No. 404879)
      (202) 326-3096; jgoodman1@ftc.gov
 2
      Elsie Kappler (MA Bar No. 562265)
 3    (202) 326-2466; ekappler@ftc.gov
      Federal Trade Commission
 4
      600 Pennsylvania Ave., NW, CC-8528
 5    Washington, DC 20580
 6
      Local Counsel
 7    Jeffrey Tang (CA Bar No. 308007)
 8
      (310) 824-4303; jtang@ftc.gov                                    9/9/24
      Federal Trade Commission
 9    10990 Wilshire Boulevard, Suite 400
                                                                           MRV



      Los Angeles, California 90024
10
      Attorneys for Plaintiff
11
                       IN THE UNITED STATES DISTRICT COURT
12
                          CENTRAL DISTRICT OF CALIFORNIA
13
       Federal Trade Commission,
14
                              Plaintiff,              No. FY63* -35[
15     v.
       Ascend Capventures Inc., also doing            FILED UNDER SEAL
16
       business as Ascend Ecom LLC; Ascend
17     Ecomm LLC; ACV; ACV Partners;                  PLAINTIFF FEDERAL TRADE
       Accelerated Ecommerce Ventures;                COMMISSION’S EXHIBITS
18
       Ascend Distribution LLC; Ethix Capital;
19     and ACV Nexus, a Wyoming close                 VOLUME VII
       corporation profit corporation,
20
       Ascend Ecommerce Inc., also doing              Exhibits 20-22
21     business as Ascend Ecom LLC, a
       Wyoming close corporation profit               Pages 1871 to 2215
22
       corporation,
23     Ascend Administration Inc., a California
       general stock corporation,
24
       Ascend Ecom LLC, a Wyoming limited
25     liability company,
       Ascend Distribution LLC, a Texas
26
       limited liability company,
27     William Michael Basta, individually and
       as officer and/or owner of Ascend Ecom
28

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     Case 2:24-cv-07660-SPG-JPR        Document 17 Filed 09/09/24          Page 2 of 211 Page ID
                                             #:2116


 1     LLC, Ascend Capventures Inc., Ascend
       Ecommerce Inc., Ascend Administration
 2
       Inc., and Ascend Distribution LLC, and
 3     Jeremy Kenneth Leung, individually and
       as an officer and/or owner of Ascend
 4
       Ecom LLC, Ascend Capventures Inc.,
 5     Ascend Ecommerce Inc., Ascend
       Administration Inc., and Ascend
 6
       Distribution LLC,
 7                            Defendants.
 8
 9                                      Volume VII – Exhibit List

10     Ex.   Description                                Beginning Page #      Ending Page #

11     20    Declaration of Leslie Williams             1871                  1923
       21    Declaration of Jason Winsor                1924                  2016
12     22    Declaration of Blanca Yanez                2017                  2215

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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 3 of 211 Page ID
                                   #:2117




                             Exhibit 




                                                                       EX 20
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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 4 of 211 Page ID
                                   #:2118
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 5 of 211 Page ID
                                   #:2119
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 6 of 211 Page ID
                                   #:2120
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 7 of 211 Page ID
                                   #:2121
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 8 of 211 Page ID
                                   #:2122
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 9 of 211 Page ID
                                   #:2123




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 10 of 211 Page
                                  ID #:2124




                      Attachment A




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Case 2:24-cv-07660-SPG-JPR                         Document 17 Filed 09/09/24      Page 11 of 211 Page

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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 12 of 211 Page
                                  ID #:2126




                      Attachment B




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 13 of 211 Page
                                  ID #:2127




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 14 of 211 Page
                                  ID #:2128




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 15 of 211 Page
                                  ID #:2129




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 16 of 211 Page
                                  ID #:2130




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 17 of 211 Page
                                  ID #:2131




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 18 of 211 Page
                                  ID #:2132




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 19 of 211 Page
                                  ID #:2133




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 20 of 211 Page
                                  ID #:2134




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 21 of 211 Page
                                  ID #:2135




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 22 of 211 Page
                                  ID #:2136




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 23 of 211 Page
                                  ID #:2137




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 24 of 211 Page
                                  ID #:2138




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 25 of 211 Page
                                  ID #:2139




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 26 of 211 Page
                                  ID #:2140




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 27 of 211 Page
                                  ID #:2141




                      Attachment C




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 29 of 211 Page
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                      Attachment D




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 30 of 211 Page
                                  ID #:2144




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 31 of 211 Page
                                  ID #:2145




                      Attachment E




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 32 of 211 Page
                                  ID #:2146




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 33 of 211 Page
                                  ID #:2147




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 35 of 211 Page
                                  ID #:2149




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  mhGDcMnÿAHMFÿBGÿAJIÿBFÿDlMcJGBDFÿmXoÿDpÿlcDKQOGInRÿÿ̀HMcMÿJcMÿGHMÿaBIIBFLÿBGMaIÿAHBOHÿNMCDFLÿGDÿaMÿGDÿIMCCÿDFÿqaJrDFR
  mXnÿ̀MÿKBIOQIIMKÿ̀JCaJcGRODaÿOHJcLMIÿAHBOHÿJcMÿkMFKDcÿlQcOHJIMIÿGDÿIMCCÿDFÿqaJrDFRÿÿTHMÿlQcOHJIMÿBIÿJllcDkMKÿkBJÿ
  ssÿJFKÿGHMFÿAMÿIHDAÿGHMÿIJaMÿlQcOHJIMÿJIÿJÿOcMKBGÿNJOEÿGDÿGHMÿssUÿIDÿFDÿlQcOHJIMÿDcKMcIÿJcMÿLDBFLÿGHcDQLHÿcMpMcMFOMÿGDÿ
  GHMÿhGDcMÿ^JFJLMcIÿtMFKDcÿlQcOHJIMÿNMBFLÿaJKMÿpcDaÿ̀JCaJcGRODaRÿÿ]CMJIMÿIMMÿMuJalCMIÿFDGMKv
  mZnÿ]CMJIMÿIMMÿNMCDAÿIJalCMÿDpÿJFÿDcKMcÿAHBOHÿAJIÿlQcOHJIMKÿpcDaÿJÿOQIGDaMcUÿNQGÿFDGÿIHBllMKÿJIÿPMGÿJIÿAMCCR
  ?ÿFMMKÿIDaMGHBFLÿkJCBKÿJFKÿABGHÿpJOGIÿFDGÿGHBIÿMaJBCÿABGHÿFDÿMulCJFJGBDFÿDpÿFDGHBFLRÿÿ]CMJIMÿIMFKÿaMÿIDaMGHBFLÿkJCBKUÿ
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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 37 of 211 Page
                                  ID #:2151




                      Attachment G




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 38 of 211 Page
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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 40 of 211 Page
                                  ID #:2154




                      Attachment H




                                                                      EX 20
                                                                       1908
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 41 of 211 Page
                                  ID #:2155




                                                                      EX 20
                                                                       1909
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 42 of 211 Page
                                  ID #:2156




                      Attachment I




                                                                      EX 20
                                                                       1910
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 43 of 211 Page
                                  ID #:2157




                                                                      EX 20
                                                                       1911
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 44 of 211 Page
                                  ID #:2158




                      Attachment J




                                                                      EX 20
                                                                       1912
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 45 of 211 Page
                                  ID #:2159




                                                                      EX 20
                                                                       1913
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 46 of 211 Page
                                  ID #:2160




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 47 of 211 Page
                                  ID #:2161




                      Attachment K




                                                                      EX 20
                                                                       1915
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 48 of 211 Page
                                  ID #:2162




                                                                      EX 20
                                                                       1916
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 49 of 211 Page
                                  ID #:2163




                      Attachment L




                                                                      EX 20
                                                                       1917
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 50 of 211 Page
                                  ID #:2164




                                                                      EX 20
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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 51 of 211 Page
                                  ID #:2165




                                                                      EX 20
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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 52 of 211 Page
                                  ID #:2166




                      Attachment M




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 53 of 211 Page
                                  ID #:2167




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                                                                       1921
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 54 of 211 Page
                                  ID #:2168




                      Attachment N




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                                                                       1922
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 55 of 211 Page
                                  ID #:2169




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 56 of 211 Page
                                  ID #:2170




                             Exhibit 




                                                                      EX 21
                                                                       1924
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 57 of 211 Page
                                  ID #:2171




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 58 of 211 Page
                                  ID #:2172




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                                                                       1926
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 59 of 211 Page
                                  ID #:2173




                                                                      EX 21
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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 60 of 211 Page
                                  ID #:2174




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                                                                       1928
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 61 of 211 Page
                                  ID #:2175




                                                                      EX 21
                                                                       1929
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 62 of 211 Page
                                  ID #:2176




                                                                      EX 21
                                                                       1930
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 63 of 211 Page
                                  ID #:2177
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 64 of 211 Page
                                  ID #:2178




                      Attachment A




                                                                      EX 21
                                                                       1932
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 65 of 211 Page
                                  ID #:2179
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 66 of 211 Page
                                  ID #:2180
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 67 of 211 Page
                                  ID #:2181




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                                                                       1935
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 68 of 211 Page
                                  ID #:2182




                                                            Attachment B
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                                                              1936
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 69 of 211 Page
                                  ID #:2183




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                                                                       1937
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 70 of 211 Page
                                  ID #:2184




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 71 of 211 Page
                                  ID #:2185




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                                                                       1939
         Case 2:24-cv-07660-SPG-JPR     Document 17 Filed 09/09/24   Page 72 of 211 Page
                                             ID #:2186




    Amazon Seller
    Management
    Agreement

    Prepared for:

    Castle Creek LLC


    Created by:
    Ascend Capventures Inc.




                                                                                 EX 21
Document Ref: DAGYR-POKCR-SEMQB-UG7AG                                             1940 Page 1 of 15
         Case 2:24-cv-07660-SPG-JPR      Document 17 Filed 09/09/24   Page 73 of 211 Page
                                              ID #:2187

 1. Services & Deliverables
 The Manager agrees that it shall provide the Client with Management services including
 the skills, guidance, expertise, know-how, and deliverables for which it is commissioned.


 As part of this Management agreement, the Manager agrees to the deliverables listed in
 Schedule A.


              Services (from Manager)                          Cost (to Client)
   Amazon Store Build + FBA/FBM product                         $ 30,000
   sourcing
   Amazon Store Management + Growth                       50% Of Monthly Net Profits

   Reseller Certificate Fee (Optional)                         $ 150.00

   Monthly Software fee (subject to change)                    $ 25.00




 The packages/service add-ons are given in Annexures attached to this
 Agreement.


 By signing this Amazon Seller Management Agreement, it is the agreement of both parties
 that the services and deliverables listed above represent an accurate scope of work as
 defined by the terms of this agreement.




                           AMAZON SELLER MANAGEMENT AGREEMENT


 This Amazon Seller Management Agreement (this “Agreement”), dated and effective as of
 the last date identified on the signature page below to this Agreement (“Effective Date”), is
 entered into by and between Ascend CapVentures Inc., a Wyoming Incorporated
 company (hereafter referred to as “Manager”), and the entity set forth on the signature
 page attached hereto (hereafter referred to as “Client”). Manager and Client are
 sometimes referred to herein individually as a “Party” and collectively as the “Parties".




                                         BACKGROUND


                                                                                  EX 21
Document Ref: DAGYR-POKCR-SEMQB-UG7AG                                              1941 Page 2 of 15
         Case 2:24-cv-07660-SPG-JPR     Document 17 Filed 09/09/24   Page 74 of 211 Page
                                             ID #:2188

 WHEREAS, Amazon.com is a website that allows users to buy and sell products.
 Amazon.com uses an infrastructure that permits, buying, selling, storage, and shipping.


 WHEREAS, Manager is engaged in providing "Amazon.com seller account management
 services". Manager desires to provide Client with Amazon.com seller account
 management services, and Client is willing and desires to retain Manager to provide
 Amazon.com seller account management services as outlined in this Agreement.


 NOW, THEREFORE, for and in consideration of mutual covenants contained in this
 Agreement, and other good and valuable consideration, the receipt and sufficiency of
 which are hereby acknowledged, the Parties here to, intending to be legally bound, hereby
 agree as follows:




                                        AGREEMENT



 1. MANAGER SERVICES


 1.1 Services. The Manager agrees to provide, but is not limited to, the following services to
 fully prepare, manage, and operate a Amazon.com store on behalf of Client:



 · Amazon.com Store Approval Support.
 · Reseller Certificate Services Support.

 · Product research, sourcing, selecting and listing of products for sale on amazon.com.

 · Sourcing Wholesale suppliers on behalf of client.

  ·Handling customer service, returns, issuing refunds, bookkeeping, and handling all issues
 that arise concerning Client’s Amazon.com seller account including customer claims,

                                                                                 EX 21
Document Ref: DAGYR-POKCR-SEMQB-UG7AG                                             1942 Page 3 of 15
         Case 2:24-cv-07660-SPG-JPR     Document 17 Filed 09/09/24   Page 75 of 211 Page
                                             ID #:2189

 chargebacks, and negative feedback.



 · Provide oversight of the store and its financial performance and provide proper billing
 for account management services as described in Section 2.4.



 · In the rare and unlikely event Client’s amazon.com store becomes suspended, Manager
 will handle all duties to reinstate the store for active sales, but there are no guarantees of
 reinstatement. If amazon.com permanently suspends Client’s store for any reason,
 Manager will build Client another e-commerce store (whether that be another
 amazon.com store, Walmart Store or other) at no additional cost. The Manager shall take
 into account the Client’s preferences and authorization for building the new e-commerce
 store after suspension.

 The Manager retains the right to provide and use an outside contractor at the Manager’s
 discretion as long as the services are being provided as stated above (the “Services”).



 1.2 Independent Contractor Status. The Parties are not entering into a partnership or joint
 venture by virtue of this Agreement. In all matters covered by this Agreement, the Manager
 will act as an independent contractor. Accordingly, Manager will not be required to devote
 his full time to representing Client. Managers may perform the same or similar services for
 others, as well as engage in any other business activities.



 1.3 Non-Exclusive Services. Manager’s services hereunder shall not be exclusive to Client,
 and at all times Manager shall be free to perform the same or similar services for others,
 as well as to engage in any and all other business activities, provided that such other
 activities do not interfere with Manager’s services to Client hereunder. The Client may use
 his own resources to build his e-commerce store in addition to the Manager’s Services,
 however, it shall not prejudice the Services being delivered by the Manager in any manner
 whatsoever.



  1.4 No Financial Responsibility and Ownership. In no event shall Manager be responsible
 for payment of any kind or any other obligation under Client’s credit cards or working
 capital, all of which payment obligations shall be solely that of Client. Manager also does
 not provide financial or tax advice to Client. The Manager shall only deliver managerial
 services as stated in this Agreement, and in no case be deemed to be the owner of the e-
 commerce store or part of it for any purposes whatsoever.



 1.5 Best Efforts. Manager will service Client in a professional manner and to the best of his
 abilities according to the industry standard, which shall be without any intentional
 misrepresentation or/and willful misconduct. The Manager shall not use any resource
 provided by the Client in a wrongful manner which is not intended by the Client. The Client
 agrees that the Manager cannot and does not guarantee the outcome of the Services or

                                                                                  EX 21
Document Ref: DAGYR-POKCR-SEMQB-UG7AG                                              1943 Page 4 of 15
         Case 2:24-cv-07660-SPG-JPR     Document 17 Filed 09/09/24    Page 76 of 211 Page
                                             ID #:2190

 generation of a certain amount of income at any time during or after the term of this
 Agreement.




 2. CLIENT REQUIREMENTS


 2.1 Account Setup Requirements. Prior to Manager’s performance of the Services outlined
 above, Client shall assist Manager with establishing a Amazon.com seller account (the
 “Account”) to be owned by Client and prepare and execute the necessary documentation
 and fulfill all other requirements necessary in order to establish Manager and its
 representatives as an “authorized user” on the Account, with full access and permissions
 to the Account.




 2.2 Access to Working Capital. Client will use best efforts to obtain and maintain, for the
 duration of this Agreement, credit cards issued through the United States federally insured
 banking institution or other working capital with a minimum credit line of at least $25,000
 USD to be used to purchase goods for resale on Client’s amazon.com store. Client shall
 notify Manager if Client uses this credit/working capital for any reason outside the scope of
 this agreement. This minimum credit must be maintained and fully accessible to the
 Manager throughout the duration of the term in order for the buyback guarantee to
 remain valid. Client must provide the Manager with credit/debit card and billing
 information for the Manager to fulfill orders and monthly supplier/third party software and
 Amazon.com professional seller fees. Client shall pay off the credit cards/working capital
 fully to the extent possible from Amazon.com store revenues within 7 business days after
 Amazon.com remits payments to Client, typically every two weeks.



 2.3 Initial Service Fee. Client will pay Manager an initial service fee of $30,000 USD, of which
 $30,000 is due upon signing of this agreement to initiate Manager’s services to build
 Client’s Amazon.com store and obtain Amazon.com store approval, in conjunction with
 Section 2.1 above. This initial service fee is fully refundable if the client is unsuccessful
 obtaining approval to become an Amazon.com Seller. Manager is not obligated to initiate
 any work until this upfront service fee is paid by Client.




 2.4 Ongoing Compensation. Manager provides ongoing services to maintain and operate
 Client’s Amazon.com store in exchange for a commission share of Net Profits, as defined
 below. Commission is payable on all net compensation/profits when it is received by
 Client or by any third Party on Client’s behalf minus returns & supplier software cost.
 Manager will provide the Client with a written statement of account showing the net
 compensation/profits received by Manager on Client’s behalf and the expenses (if any)
 incurred by Manager under this Agreement. Client’s payment to Manager is due upon
 receipt.



                                                                                    EX 21
Document Ref: DAGYR-POKCR-SEMQB-UG7AG                                                1944 Page 5 of 15
         Case 2:24-cv-07660-SPG-JPR     Document 17 Filed 09/09/24     Page 77 of 211 Page
                                             ID #:2191

 2.5 Optional Payment for Additional Profit Share. After Client’s Amazon.com store has been
 operational for at least 3 months, Client has the option to pay Manager an additional
 amount to reduce Manager’s ongoing compensation commission share by at least 5%.
 Client may additionally offer to pay Manager an additional amount for another 5%
 commission share, which Manager has sole discretion whether to accept. Also includes
 after 5 months for client to buy up to a higher package and profit share level at the same
 price the package(s) were at the time of signing this contract. Client would pay the
 difference between the original fee paid and cost for higher package (see Exhibit A).
 However, this amount shall depend on the market price at a given time which the
 Manager has the discretion to decide by applying the standard market rates. To enact this
 optional payment to reduce Manager’s commission share, Client must submit this notice
 in writing and submit payment to Manager no less than 30 days prior to enactment, but in
 all cases the change in Manager’s commission share will be enacted at the beginning of
 the following month after 30 days from Client’s written request. The profit percentage in
 this option may change on the discretion of the Manager depending upon the price of the
 package purchased by the Client.




 2.6 Store Access and Functionality. Client must provide Manager with full access to its
 Amazon.com account via Amazon.com's User Permissions' to grant Manager “admin
 access” to the Amazon.com account. Unless Manager provides written consent: (i) at no
 time shall Client Pause its Store, allow for a Suspension, or place its Amazon account or
 Store in Vacation Mode, such terms being denied or referenced on the amazon website or
 in other written materials made available to Client, and (ii) Client shall not allow its Store to
 remain shut down for more than thirty (30) days during the term of this Agreement.




 2.7 Engagement. Client agrees to not engage any other person or entity to act for Client in
 the same capacity in which Client has engaged Manager for Amazon.com account
 management services or otherwise. Client shall reasonably inform Manager of inquiries
 concerning Manager’s services so that Manager may advise Client whether the same are
 compatible with and in the interests of Client’s.




 2.8 Entity Formation. Client is responsible for any business formation/management
 concerning its own affairs, including but not limited to: entity formation, obtaining an
 employer identification number, and obtaining a resale certificate.




 3. TERM, TERMINATION, AND REFUND OPTION


 3.1 Term and Termination. The initial term of this Agreement will be for 36 months to begin
 once Client’s Amazon.com store has been approved and launched with products actively

                                                                                    EX 21
Document Ref: DAGYR-POKCR-SEMQB-UG7AG                                                1945 Page 6 of 15
         Case 2:24-cv-07660-SPG-JPR     Document 17 Filed 09/09/24     Page 78 of 211 Page
                                             ID #:2192

 listed for sale. The term shall pause if for any reason the Client’s Amazon.com store
 becomes suspended or no longer active, or if Client is not providing at least $25,000 in
 working capital monthly for inventory after the 6 month mark since launch, the term will
 then continue to run once Client once again has an active e-commerce store operating
 with products actively listed for sale and sufficient working capital of $25,000. The term will
 automatically renew for an additional 12 months, unless the Client or Manager provides
 written notice of termination for any reason with 60 days notice.



  3.2 Option to Request Buyback. After the initial 36-month term, if the Client has not made
 back their initial service fee of $30,000 in their allocated share of Net Profits, Client has the
 option to request the Manager to buy the Client’s amazon.com account store within a 45-
 day period following the 36th month. To exercise this buyback option, Client must notify
 Manager of that election in writing. Manager will refund the remaining portion of the initial
 service fee that was not recovered by Client from any Net Profit earned from Client’s
 Amazon.com store business, provided that (1) Client has not engaged in any act that
 interferes or interfered with the operation of the Client’s Amazon.com store or of the
 Manager’s services or which would be in material breach of this Agreement, including,
 without limitation, a suspension of Client’s Amazon.com store for any reason other than
 the occurrence of a Prohibited Action, and (2) this Agreement remains in full force and
 effect at the time Client exercises this refund option. The Parties further agree that under
 no circumstances shall this refund amount exceed the initial service fee. The Client agrees
 that this Buyback option begins starting on the first sale of the product on the
 Amazon.com store and it shall only cover the store price and not the price of any add-on
 services purchased separately by the Client. In case any inventory remains unsold before
 the end of this Agreement, it is up to the discretion of the Manager to either buy back the
 inventory with the business or not. The Client agrees not to dispute or initiate a
 chargeback in relation to any inventory purchases made by the Manager on behalf of the
 Client under this Agreement. The Client acknowledges and agrees that any dispute or
 chargeback initiated in relation to such inventory purchases will constitute a material
 breach of this Agreement. In the event of such a breach, the Manager shall have the right
 to immediately terminate this Agreement, without prejudice to any other rights or
 remedies that the Manager may have under this Agreement or under applicable law. The
 Client shall also be liable for any costs, expenses, damages, or losses incurred by the
 Manager as a result of such breach, including but not limited to any fees or penalties
 imposed by financial institutions or payment processors in connection with the disputed
 transaction or chargeback. The Client agrees that any payments made to Ascend
 Capventures using a credit card through any credit card processing merchant are final
 and non-refundable. The Client hereby waives any right to initiate a chargeback through
 their credit card company or financial institution with respect to any such payment. In the
 event that the Client initiates a chargeback in violation of this clause, the Client shall be
 responsible for reimbursing Ascend Capventures for any costs, expenses, or fees incurred
 as a result of the chargeback, including but not limited to, chargeback fees, administrative
 fees, and legal fees.

 Manager guarantees that any inventory purchased via wholesale FBA for Client's business
 shall be sold and generate an amount of sales that is equal to or greater than the amount
 spent on the inventory within 90 days of the inventory being listed, and active for sale in
 Amazon Seller Central FBA. This will require a minimum purchase of 15,000 per batch of
 inventory. If the inventory does not generate the amount spent on the inventory within the
 stated 90-day period, Client can request buyback. Manager shall refund the difference to
 Client and return the remaining inventory to Manager at no additional cost to Client.



                                                                                    EX 21
Document Ref: DAGYR-POKCR-SEMQB-UG7AG                                                1946 Page 7 of 15
         Case 2:24-cv-07660-SPG-JPR     Document 17 Filed 09/09/24    Page 79 of 211 Page
                                             ID #:2193

 3.3 Contingency Clause. In the event that the Client refuses to maintain sufficient inventory
 in their store, revokes the Manager's access to the store, or prevents the Manager from
 purchasing goods to sell on the store to generate profit, the Manager shall not be held
 responsible for any failure to achieve the net profit target for the buyback guarantee. The
 Manager's obligations under the buyback guarantee shall be suspended until the Client
 rectifies the aforementioned actions and allows the Manager to perform its duties under
 this Agreement. If the Client's store becomes deactivated for any reason, the timeframe for
 the buyback guarantee shall be paused. The Manager's obligations under the buyback
 guarantee shall resume once the store is reactivated and the Manager is able to perform
 its duties under this Agreement.



 3.4 Force Majeure. Neither Party shall be liable for any failure or delay in the performance
 of its obligations under this Agreement if such failure or delay is due to an event of Force
 Majeure. For the purposes of this Agreement, "Force Majeure" means an event beyond the
 reasonable control of a Party, including but not limited to acts of God, war, terrorism, civil
 unrest, labor strikes or lockouts, epidemics or pandemics, government actions or orders,
 natural disasters, or any other events that render the performance of a Party's obligations
 under this Agreement impossible, illegal, or commercially impracticable. Upon the
 occurrence of a Force Majeure event, the affected Party shall promptly notify the other
 Party in writing, describing the nature, extent, and expected duration of the event. The
 affected Party shall use commercially reasonable efforts to mitigate the effects of the
 Force Majeure event and to resume the performance of its obligations as soon as
 practicable. If the Force Majeure event continues for a period of 180 consecutive days,
 either Party may terminate this Agreement upon written notice to the other Party, without
 incurring any liability for such termination.



 3.5 Client’s Sale of Store. If Client decides to sell the store to a buyer at any time during or
 after the term of agreement, Manager will provide a “ transitional period” of 45 days where
 Manager will provide business plan and educational /transfer services of Amazon
 operation to said buyer as well as assistance in sourcing a buyer. Manager will be owed
 10% commission of the sale of the store.




 4. NET PROFIT STATEMENT


 4.1 Invoice and Payment Terms. The Client shall receive an itemized invoice from the
 Manager within the initial ten (10) business days of each calendar month (dates subject to
 revision), delineating the Client's Net Profits and the commission payable to the Manager.
 Payment to the Manager shall be remitted by the Client within seven (7) business days
 upon receipt of the invoice.

 In the event of delayed payment beyond the seven (7) business day term, a late fee
 equivalent to 5% of the due amount will be levied on the Client. Non-payment of the
 invoice within thirty (30) days from its issue date will be deemed a significant breach of
 contract, resulting in the temporary cessation of the Store operations by the Manager,
 enacted without prior notification to the Client. Furthermore, if the payment remains


                                                                                   EX 21
Document Ref: DAGYR-POKCR-SEMQB-UG7AG                                               1947 Page 8 of 15
         Case 2:24-cv-07660-SPG-JPR     Document 17 Filed 09/09/24     Page 80 of 211 Page
                                             ID #:2194

 outstanding after the aforementioned 30-day period, the Client's Buyback option will be
 automatically rescinded without additional notice.




 4.2 Definition of Net Profit. 'Net Profit' is defined as the sum of total sales, less the cost of
 goods sold, less professional fees associated with Amazon.com, and less expenses
 incurred for supplier or third-party software. This amount is subsequently multiplied by the
 commission percentage detailed in Section A of this Agreement. Costs associated with
 returns or unsellable goods are expressly excluded from this definition.

 Upon the conclusion of the 36-month of this Agreement, or in the event that the Client
 chooses to opt out and enact the Buyback clause, a 60-day notice will be provided for
 unsellable goods within the store. Following this, the Manager retains discretion to either
 liquidate remaining inventory or purchase it from the Client. In cases requiring liquidation,
 an extension of three months beyond the 36-month term of this Agreement will be
 necessitated. The Client acknowledges and consents to the exclusion of products held in
 the Manager's inventory from the Net Profit calculation. The billing procedure for Net Profit
 will adhere strictly to the stipulations outlined in this clause.




 4.3 Seller Fees and Software Costs. The Amazon.com professional seller fees and
 supplier/third-party software costs are taken into account within the Net Profit calculation
 before Manager’s commission rate as stated in Section A is applied. Amazon.com
 professional seller fees are outlined on Amazon.com’s seller website and are not subject to
 Manager’s control. The supplier/third-party software costs vary, but will not exceed $300
 per month and are not guaranteed to remain constant throughout the term. Additional
 software charges will be sent for client approval.




 5. DEFAULT


 5.1 Manager Default. Manager will not be liable or deemed in default under this agreement
 for any failure to perform or delay in performing any of its obligations due to, or arising out
 of any act not within its control, including, without limitation, unexpected Amazon Seller
 Central termination or suspension of clients store on Amazon.com. No refunds will be
 given, however the Client will be provided alternative options such as a new ecommerce
 store with no upfront commission cost.




 5.2 Client Default. Client shall be considered in default and material breach of this contract
 if it engages or permits any conduct that results in Manager being unable to access
 Client’s Amazon.com account for a period of three (3) days, or does not pay Manager the
 ongoing commission share earned within thirty (30) days of invoice. Any such breach

                                                                                    EX 21
Document Ref: DAGYR-POKCR-SEMQB-UG7AG                                                1948 Page 9 of 15
         Case 2:24-cv-07660-SPG-JPR     Document 17 Filed 09/09/24    Page 81 of 211 Page
                                             ID #:2195

 would result in either extension or cancellation of the Buyback option which shall be up to
 the discretion of the Manager. If the Amazon.com store is paused for any reasons, it shall
 not count towards the Buyback period. This period will activate again once store is live.



 6. MISCELLANEOUS


 6.1 Authority to Act. Client authorizes Manager to act for Client by doing the following:
 product research; listing products for sale; fulfilling orders when products are sold;
 handling customer service; handling returns; issuing refunds; bookkeeping; and handling
 all issues that arise concerning Client’s Amazon.com account including A to Z claims,
 chargebacks, and negative feedback.



 6.2 Rescission and Refund. Client is entitled to a three (3) calendar day rescission period
 and entitled to cancel the contract. After the three (3) calendar day rescission period has
 passed the Client will not be entitled to a refund.



 6.3 Assignment. Neither Client nor Manager has the right to assign this Agreement or any
 rights or obligations under the Agreement without the express written consent of the other,
 except that Manager may assign this Agreement to any firm, corporation or other entity of
 which Manager is an officer, partner, employee, or consultant. In case of such assignment,
 the Manager shall give due consideration to the Client’s interest and provide notice to the
 Client.




 6.4 No Encumbrances. Each Party warrants that it is free to enter into and to perform under
 this Agreement and to grant the rights, options, powers and privileges herein granted, and
 to perform every service described in this Agreement, and neither Party is a party to any
 presently existing contract, nor has or will have any obligation, that would interfere with full
 performance of the terms of this Agreement.




 6.5 Indemnification. In the event that either Party hereto does not fully perform or cause to
 be performed any agreement or obligation undertaken by such Party hereunder (the
 “Indemnitor”), the Indemnitor agrees to indemnify, defend and hold the other Party hereto
 (the “Indemnitee”) harmless from any and all claims, demands, actions, judgments and
 awards against the Indemnitee by third Parties in connection with such non-performance.
 In connection with the foregoing indemnity, the Indemnitee agrees to give the Indemnitor
 prompt written notice of any claim against the Indemnitee. Further, the Indemnitor shall
 not be liable for such indemnity unless such claim has been adjudicated in a court of
 competent jurisdiction and reduced to a final adverse judgment, arbitrated pursuant to



                                                                                   EX 21
Document Ref: DAGYR-POKCR-SEMQB-UG7AG                                               1949 Page 10 of 15
         Case 2:24-cv-07660-SPG-JPR     Document 17 Filed 09/09/24   Page 82 of 211 Page
                                             ID #:2196

 any agreement requiring arbitration and resulting in a final binding award, or settled with
 the Indemnitor’s prior written consent, which consent shall not be unreasonably withheld.




 6.6 Additional Services. All services outside the scope of this Agreement that are requested
 by Client and which Manager agrees to perform will be billed at a separate negotiated
 rate. Client will be notified and must approve in writing additional services before they will
 be performed, although Manager may not necessarily be able to inform Client in advance
 of the total cost of such additional services. These additional services include but are not
 limited to; high-frequency reselling, private label , additional wholesale brands.




 6.7 Limitation of Liability. Manager shall not be liable for any incidental, consequential,
 indirect or special damages, or for the loss of profits or business interruptions caused or
 alleged to have been caused by the performance or nonperformance of Manager’s
 services. Client agrees that, in the event that Manager is determined to be liable for any
 such loss, Client’s sole remedy against Manager is limited to a refund of payments made
 by Client for services, less expenses paid to subcontractors or to third parties. Manager is
 not responsible for errors which result from faulty or incomplete information supplied to
 Manager by Client. Client also agrees to not seek damages in excess of the contractually
 agreed upon limitations directly or indirectly through suits by or against other parties.
 Manager shall not be liable to Client for any costs, damages or delays due to causes
 beyond its control, expressly including without limitation, unknown site characteristics;
 changes in policies, changes in terms of service, and viruses.



 6.8 Policy Change. The terms and conditions may be amended or modified by the
 Manager according to the business needs, however, any change or amendment to this
 Agreement shall be in writing and signed by both Parties.



 6.9 Mutual Non Disparagement. The Client agrees to refrain from any disparagement,
 defamation, libel, or slander of any of the Service, deliverable, Manager or any of their
 affiliates and agrees to refrain from any tortious interference with the contracts and
 relationships of any of the Services provided by the Manager. Any negative reviews about
 the Services, deliverables or the Manager which are not true shall be considered a
 violation of this Agreement. The Manager also agrees to refrain from any disparaging
 statements about the Client.



 6.10 Disputes and Governing Law. The Parties agree that any dispute regarding this
 Agreement, and any claim made by Client for return of fees paid to Manager, shall be
 handled in accordance with applicable State and Federal Laws. This Agreement and the
 rights and obligations of the Parties hereunder shall be governed by and construed and



                                                                                  EX 21
Document Ref: DAGYR-POKCR-SEMQB-UG7AG                                              1950 Page 11 of 15
          Case 2:24-cv-07660-SPG-JPR     Document 17 Filed 09/09/24   Page 83 of 211 Page
                                              ID #:2197

  enforced in accordance with the laws of Sheridan County in the State of Wyoming
  applicable to contracts made and to be performed wholly within such state.




  6.11 Arbitration. Any controversy or claim arising out of or relating to this Agreement, or the
  breach hereof, on behalf of the Client shall be settled by arbitration in accordance with the
  Commercial Arbitration Rules of the American Arbitration Association, and judgment upon
  the award rendered by the arbitrator(s) may be entered in any court having jurisdiction
  thereof.



  6.12 Entire Agreement. This Agreement constitutes the entire agreement between the
  Parties. Any prior agreements, promises, negotiations, or representations not expressly set
  forth in this Agreement are of no force and effect. Any amendment to this Agreement shall
  be of no force and effect unless it is in writing and signed by the Parties.



  6.13 Severability. Any provision of this Agreement which is invalid, illegal or unenforceable
  in any jurisdiction shall, as to that jurisdiction, be ineffective only to the extent of such
  invalidity, illegality or unenforceability, and shall not in any manner affect the remaining
  provisions hereof in such jurisdiction or render any other provision of this Agreement
  invalid, illegal or unenforceable in any other jurisdiction.




  6.14 Independent Counsel. The Parties acknowledge that they had the right and adequate
  time to have independent legal counsel of their own choosing review and advise on this
  Agreement prior to execution.




  6.15 Counterparts. This Agreement may be executed in one or more counterparts. All such
  counterparts shall constitute one agreement binding on the Parties notwithstanding that
  both of the Parties are not signatories to the original or same counterpart. Signatures
  provided by facsimile or electronic transmission shall have the same force and effect as
  original signatures and shall be binding upon the Parties. The Agreement shall be
  considered executed and binding once one of the Parties possesses an Agreement that
  expresses signatures by all Parties.




7. Incorporation of Terms of Service Clause



                                                                                    EX 21
 Document Ref: DAGYR-POKCR-SEMQB-UG7AG                                               1951 Page 12 of 15
          Case 2:24-cv-07660-SPG-JPR     Document 17 Filed 09/09/24    Page 84 of 211 Page
                                              ID #:2198


     7.1 Agreement to Terms of Service. In addition to this Service Agreement, the Client agrees
     to abide by the Company's Terms of Service (ToS), as available on the Company's website
     at https://www.ascendcapventures.com/. The Client acknowledges and agrees that the
     ToS constitute an integral part of this Service Agreement.




     7.2 Acceptance. By signing this Service Agreement, the Client confirms that they have
     read, understood, and agreed to the ToS. The Client acknowledges that the ToS may be
     modified from time to time by the Company, and agrees to be bound by such
     modifications. The Client agrees to regularly review the ToS on the Company's website to
     be aware of any such changes.




     7.3 Conflict. In the event of any conflict or inconsistency between the provisions of this
     Service Agreement and the ToS, the terms of this Service Agreement shall prevail to the
     extent of such conflict or inconsistency.




     By signing below, the undersigned acknowledge reading, understanding, and agreeing to
     the terms of this Agreement thereby causing it to be executed once signed by all Parties.




     IN WITNESS WHEREOF, by the execution of both parties below, this consulting agreement is
     declared valid and will form a part of the Contract in conjunction with any other relevant
     documents and agreements presented on behalf of either party.




       Castle Creek LLC                                         ASCEND CAPVENTURES INC

X:                                                      X:


By:       Jason Winsor, Owner                          By:     ASCEND CAPVENTURES INC




                                                                                   EX 21
 Document Ref: DAGYR-POKCR-SEMQB-UG7AG                                              1952 Page 13 of 15
          Case 2:24-cv-07660-SPG-JPR     Document 17 Filed 09/09/24   Page 85 of 211 Page
                                              ID #:2199

Date:        2023-08-01                                Date:    2023-08-01




                                                                                  EX 21
 Document Ref: DAGYR-POKCR-SEMQB-UG7AG                                             1953 Page 14 of 15
          Case 2:24-cv-07660-SPG-JPR       Document 17 Filed 09/09/24   Page 86 of 211 Page
                                                ID #:2200



                                              Schedule A




                                           HYBRID PACKAGE


      •    50/50 profit split

      •    Wholesale FBA & FBM

      •    Aged Store: + $15,000.00 (One Time Fee)

      •    Private Label: +$25,000.00 per Product (One Time Fee)



                                                Exhibit A

  Package Prices:

      •    $50,000 60/40 Profit sharing split

      •    $65,000 70/30 Profit sharing split



                   Total Price - $30,000




                                                                                    EX 21
Document Ref: DAGYR-POKCR-SEMQB-UG7AG                                                1954 Page 15 of 15
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 87 of 211 Page
                                  ID #:2201
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 88 of 211 Page
                                  ID #:2202




                      Attachment (




                                                                      EX 21
                                                                       1956
Case 2:24-cv-07660-SPG-JPR            Document 17 Filed 09/09/24     Page 89 of 211 Page
                                           ID #:2203

                                                             BlueVine Inc.
                                                             401 Warren St, Suite 300
                                                             Redwood City, CA 94063
                                                             www.bluevine.com
                                                             +1 (888) 216-9619
  CASTLE CREEK LLC
  Jason Winsor


  Phoenix, AZ


   Account statement
  Account Number:


  Statement Period:
  August 2023 (Aug. 1, 2023 - Aug. 31, 2023)



   Activity summary
   Beginning Balance on
   08/01/2023

   Deposits/credits

   Withdrawals/debits                 $-

   Ending balance on 08/31/2023




   Transactions
   Date                 Description                                                 Amount




   08/02/23             ACH payment to Ascend Cap V...                           $-30,000.00




   08/25/23             Same-day ACH to Ascend Cap ...                             $-150.00

   08/25/23             Same-day ACH fee                                                $-10.00




                                                                                   EX 21
                                                                                    1957
Case 2:24-cv-07660-SPG-JPR                Document 17 Filed 09/09/24                   Page 90 of 211 Page
                                               ID #:2204

  In case of errors or questions about your electronic funds transfers or non-electronic transactions, contact
  Customer Support at 1-888-216-9619 or via email at banking.support@bluevine.com. For additional
  information regarding the error or dispute process, review your Account Agreement, located in your Documents
  page at app.bluevine.com/dashboard/documents/.


  Banking services provided by Coastal Community Bank, Member FDIC. This BlueVine Card is issued by Coastal
  Community Bank, Member FDIC, pursuant to license by Mastercard International.




                                                                                                     EX 21
                                                                                                      1958
Case 2:24-cv-07660-SPG-JPR       Document 17 Filed 09/09/24         Page 91 of 211 Page
                                      ID #:2205


  IntraFi® Network DepositsSM Monthly Statement
  Demand or Savings Option (formerly known as ICS®)

  The following information is a summary of activity in your account(s) for the month of
  August 2023 and the list of FDIC-insured institution(s) that hold your deposits as of
  the date indicated. These deposits have been placed by us, as your agent and
  custodian, in deposit accounts through IntraFi Network Deposits. Funds in your
  deposit accounts at the FDIC-insured institutions at which your funds have been
  placed will be “deposits,” as dened by federal law.

   Summary of balances as of August 31,2023
   FDIC-Insured institution                                                     Amount




                                                                               EX 21
                                                                                1959
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 92 of 211 Page
                                  ID #:2206




                      Attachment )




                                                                      EX 21
                                                                       1960
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 93 of 211 Page
                                  ID #:2207




                                                                      EX 21
                                                                       1961
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 94 of 211 Page
                                  ID #:2208




                                                                      EX 21
                                                                       1962
            Case
2/26/24, 2:05 PM 2:24-cv-07660-SPG-JPR
                                   Gmail - Re:Document
                                              [Ascend Ecom] 17     Filed
                                                            Assignment: Re: 09/09/24       PageConfirmation
                                                                            Ascend Ecom: Payment 95 of 211                Page
                                                               ID #:2209

                Best Regards,
                                         Carla
                                         Executive Assistant Manager, Ascend Ecom


                                            www.ascendecom.com        support@ascendecom.com
                                            2219 Main St. Santa Monica, CA




         [W5L6MP-32YLX]Ticket-Id:554Account-Subdomain:ascendecomsupport




                                                                                                                       EX 21
https://mail.google.com/mail/u/1/?ik=440caf055a&view=pt&search=all&permmsgid=msg-f:1773597732761286085&simpl=msg-f:1773597732761286085
                                                                                                                        1963
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 96 of 211 Page
                                  ID #:2210




                      Attachment *




                                                                      EX 21
                                                                       1964
 Case 2:24-cv-07660-SPG-JPR          Document 17 Filed 09/09/24          Page 97 of 211 Page
                                          ID #:2211




    castle-creek-llc



     @EAM.Carla created this channel on August 7th. This is the very beginning of the castle-
     creek-llc channel. Description: For Jason Winsor's store.


                                        Monday, August 7th




EAM.Carla 12:53 PM
joined castle-creek-llc.




EAM.Carla 12:53 PM
set the channel description: For Jason Winsor's store.




GM Michael 12:53 PM
was added to castle-creek-llc by EAM.Carla. Also, HRD.Grace and 6 others joined.




EAM.Carla 12:55 PM
Hi @Jason W - castle creek! Welcome to your Slack channel. Feel free to send us a message
here if you have questions or clarifications regarding the onboarding process. Thank you and
have a great day ahead!




                                                                                         EX 21
                                                                                          1965
 Case 2:24-cv-07660-SPG-JPR             Document 17 Filed 09/09/24              Page 98 of 211 Page
                                             ID #:2212



Jason W - castle creek 12:59 PM
joined castle-creek-llc.




Jason W - castle creek 1:00 PM
Hello.




EAM.Carla 1:06 PM
Hi @Jason W - castle creek! Let us know if you need assistance with your onboarding
requirements. Thank you!




Jason W - castle creek 2:30 PM
Carla I had a question about the tx resale certificate. I signed the cert for Santosh. Do I need to
upload it to the tx site or wait for further instruction from him




EAM.Carla 2:31 PM
Hi @Jason W - castle creek! If you have a signed Resale Certificate ready, you may send it
here and I'll upload it to your file. Thank you!
                                          Tuesday, August 8th




Jason W - castle creek 9:44 AM
I think it’s already in my file. I was curious as the initial checklist I got was to upload it to the
Texas site. I am asking if it is ready to do that or will I hear more from Santosh? Also what are
next steps. My seller account and llc are all created.




EAM.Carla 9:47 AM




                                                                                                EX 21
                                                                                                 1966
 Case 2:24-cv-07660-SPG-JPR           Document 17 Filed 09/09/24          Page 99 of 211 Page
                                           ID #:2213



Hi @Jason W - castle creek! We haven't received your Resale Certificate yet. You may check
with Santosh if there are further actions that you need to take regarding your Resale Certificate.
If we may ask, is your seller account active and fully verified? Thank you!




Jason W - castle creek 11:33 AM
Seller account active and fully verified. Correct.




EAM.Carla 11:37 AM
Thanks for confirming. Please fill out these details below:
Amazon Seller Central Account
Amazon Store Name:
Username (Email address):
Password:
Business Gmail address - This will be used for creating supplier accounts
Username:
Password:
EIN# / US Federal Tax ID:
How much are you comfortable spending on your inventories for the first 3 months?:
Thank you!




Jason W - castle creek 1:19 PM
Amazon Store Name: Castle Priority Goods
Username (Email address):                   @gmail.com
Password:
Business Gmail address - This will be used for creating supplier accounts
Username: castlecreekaz
Password:
EIN# / US Federal Tax ID:




                                                                                         EX 21
                                                                                          1967
 Case 2:24-cv-07660-SPG-JPR         Document 17 Filed 09/09/24            Page 100 of 211 Page
                                         ID #:2214




Jason W - castle creek 1:20 PM
Carla - I was thinking around $20-25k?
   1




6 replies
 Last reply 3 months ago
 View thread




EAM.Carla 1:40 PM
renamed the channel from “nocon-castle-creek-llc” to “castle-creek-llc”




SM.Seamus 1:40 PM
was added to castle-creek-llc by EAM.Carla. Also, SM.GM and 5 others joined.




EAM.Carla 1:41 PM
Hi @Jason W - castle creek! Our team confirmed that they already have admin access to your
account. I'm now endorsing you to your store manager, @SM.Seamus. @AA.Aice is your store
analyst. They will assist you with your questions/concerns moving forward. You may send your
Resale Certificates here once you have them. It's been a pleasure assisting you throughout the
onboarding process. Thank you and have a great day ahead!




Jason W - castle creek 1:44 PM
@EAM.Carla I sent the info Santosh needed to complete the AZ resale cert and signed the TX
one on Friday. He hasn't responded since? (edited)




                                                                                      EX 21
                                                                                       1968
 Case 2:24-cv-07660-SPG-JPR        Document 17 Filed 09/09/24          Page 101 of 211 Page
                                        ID #:2215




Jason W - castle creek 1:44 PM
Can you check with him on your end?



5 replies
 Last reply 3 months ago
 View thread
                                     Wednesday, August 9th




Jason W - castle creek 7:33 AM
@SM.Seamus @AA.Aice Nice to meet you. I look forward to working with you - what are next
steps?
   1




6 replies
 Last reply 3 months ago
 View thread




Jason W - castle creek 10:08 AM
Great thx you




Jason W - castle creek 11:52 AM
One question, how do you differentiate my store from all your other customers as far as
products are concerned? Wouldn't we all be competing for the same inventory?




AA.Aice        12:16 PM




                                                                                      EX 21
                                                                                       1969
Case 2:24-cv-07660-SPG-JPR          Document 17 Filed 09/09/24         Page 102 of 211 Page
                                         ID #:2216



@SM.GM @SM.Seamus




SM.GM 1:28 PM
New accounts are subject to certain limitations and may not have immediate access to list high-
demand products with good BSR
What we are doing next
-1 Start with Less Restricted Categories
-2 Build Positive Customer Feedback
with the products which are acceptable according your store status and then we will add HIGH
BSR PRODUCTS.
  1




Jason W - castle creek 2:24 PM
Ok.




Jason W - castle creek 3:25 PM
@SM.GM thx for the clarification. Looking forward to growing quickly. Best!
                                       Friday, August 11th




SM.GM 8:30 AM
Noted @Jason W - castle creek




SMA.George 1:02 PM
was added to castle-creek-llc by AA.Aice.




Jason W - castle creek 1:12 PM
replied to a thread:



                                                                                      EX 21
                                                                                       1970
 Case 2:24-cv-07660-SPG-JPR          Document 17 Filed 09/09/24          Page 103 of 211 Page
                                          ID #:2217



 @SM.Seamus @AA.Aice Nice to meet you. I look forward to working with you - what are
 next steps?
Ok. Great.
   1
                                       Saturday, August 12th




Jason W - castle creek 9:40 AM
Attached is the signed Arizona Resale Certificate and the Texas Resale Certificate. I have
completed all onboarding -seller account is open and verified, capital ready. I look forward to
the next steps. @AA.Aice @EAM.Carla @SMA.Brad @SM.Seamus @SM.GM (edited)
2 files
Castle Creek LLC_Texas_Resale Certificate (1) (1).pdf
PDF
Arizona_Resale Certificate_Castle Creek LLC_signed.pdf
PDF
   1




SM.GM 10:37 AM
Thank you Jason
                                        Friday, August 18th




Jason W - castle creek 4:50 PM
Hi all. Is product being sourced/researched? I haven’t heard and I would like to understand
what the next steps are? Thanks. (edited)




5 replies
 Last reply 3 months ago
 View thread




                                                                                         EX 21
                                                                                          1971
Case 2:24-cv-07660-SPG-JPR         Document 17 Filed 09/09/24         Page 104 of 211 Page
                                        ID #:2218


                                      Monday, August 21st




Jason W - castle creek 2:04 PM
@SM.GM Any update?




AA.Aice     2:08 PM

@SMA.Brad @SM.Seamus @SM.GM @SMA.George Please kindly send the invoice here.
Thank you
                                     Tuesday, August 22nd




Jason W - castle creek 7:32 AM
Any updates?
                                     Thursday, August 24th




AAM.Allen 2:54 PM
was added to castle-creek-llc by EAM.Carla. Also, AAM.Marlon and AAM.Lotis joined.




AAM.Allen 2:58 PM
Hi @Jason W - castle creek Hope all is well with you. The team also wants to do a follow-up
about the Reseller Certificate Fee payment of $150. Kindly send us a screenshot of the
transaction once you made the payment. Thanks a lot!
image.png




                                                                                         EX 21
                                                                                          1972
 Case 2:24-cv-07660-SPG-JPR        Document 17 Filed 09/09/24         Page 105 of 211 Page
                                        ID #:2219




Jason W - castle creek 3:31 PM
Hello, I submitted ACH payment yesterday.




Jason W - castle creek 3:45 PM
Any updates when I will receive an invoice/information for inventory? @SM.GM @SM.Seamus
@SMA.Brad @SMA.George




3 replies
 Last reply 3 months ago
 View thread
                                      Friday, August 25th




Jason W - castle creek 8:10 AM
I cancelled the bill.com payment and paid directly thru my bank. The payment should arrived
today. @AAM.Allen (edited)
File




1 reply




                                                                                     EX 21
                                                                                      1973
Case 2:24-cv-07660-SPG-JPR           Document 17 Filed 09/09/24            Page 106 of 211 Page
                                          ID #:2220


3 months ago
View thread
                                        Monday, August 28th




Jason W - castle creek 11:47 AM
Hello- any update on sourcing inventory/invoice for inventory? I will be away from a
computer/phone and not able to communicate between Wednesday, 8/30/23 - Monday, 9/4/23.
I will not have access to slack. Can I get an update prior to then. Thx.




SM.Seamus 12:08 PM
Hello @Jason W - castle creek,
Nice to meet you,
We are currently working on your product research, once it is finished, we will send you an
invoice which shows the product names, quantity, and ROI. Once you pay for the invoice, the
order will be placed and your inventory will be on its way to our warehouse.
If you have any further inquiries then please feel free to reach out.
Thank you for patience and co operation.
Have a nice day!




Jason W - castle creek 12:55 PM
@SM.Seamus thank you for the update. I’ll be away Wednesday - Monday so if it comes during
that time, I will review upon my return Monday. Is the product going to be a mix of FBM and
FBA?




SMA.Brad 2:55 PM
@SM.Seamus Will guide you ASAP




                                                                                       EX 21
                                                                                        1974
 Case 2:24-cv-07660-SPG-JPR         Document 17 Filed 09/09/24          Page 107 of 211 Page
                                         ID #:2221


                                     Tuesday, September 5th




Jason W - castle creek 9:53 AM
@SM.Seamus When do you expect product research to be done?




SM.Seamus 10:23 AM
Hello @Jason W - castle creek,
Hope you're doing good,
Yes, we have just about finalized the products and will provide you the invoice within 24 hours.
Have a great day!
   1




1 reply
 2 months ago
 View thread




Jason W - castle creek 10:44 AM
@SM.Seamus Thank you. I am eager to move forward. Thanks for the update!
                                     Thursday, September 7th




Jason W - castle creek 10:15 AM
@SM.Seamus any updates? It’s been 48 hours and wanted to check in. Thx




                                                                                        EX 21
                                                                                         1975
Case 2:24-cv-07660-SPG-JPR           Document 17 Filed 09/09/24          Page 108 of 211 Page
                                          ID #:2222



AA.Aice     10:19 AM

@SMA.Brad @SM.GM @SM.Seamus @SMA.George
                                       Friday, September 8th




Jason W - castle creek 4:17 PM
Hi Team any updates ?
                                     Monday, September 11th




Jason W - castle creek 6:39 AM
@SM.Seamus. Any updates?




AA.Aice     6:54 AM

@SMA.Brad @SM.GM @SMA.George @SM.Seamus Please response
  1
                                     Tuesday, September 12th




Jason W - castle creek 10:40 AM
Hi all - getting a little concerned. I have had multiple commitment dates for an invoice on
product then silence? @SM.GM @SM.Seamus @SMA.Brad @SMA.George @GM Michael
(edited)
                                    Wednesday, September 13th




SM.GM 3:56 PM
Hello @AA.Aice Can you please share store access on wholesale.new2@gmail.com
Then we will share initial invoice with @Jason W - castle creek.




                                                                                         EX 21
                                                                                          1976
 Case 2:24-cv-07660-SPG-JPR         Document 17 Filed 09/09/24        Page 109 of 211 Page
                                         ID #:2223



Many Thanks!! (edited)
   2




1 reply
 2 months ago
 View thread
                                    Thursday, September 14th




Jason W - castle creek 8:40 AM
replied to a thread:
 Hello @AA.Aice Can you please share store access on wholesale.new2@gmail.com…
Looks like @AA.Aice sent the email invite to grant store accsss.




CA.Pamella 1:32 PM
was added to castle-creek-llc by TL.Tetz. Also, CA.Dae and 2 others joined.




TL.Tetz 1:50 PM
Hi @Jason W - castle creek We are glad to let you know that we have available products like
(Softsoap,Colgate,speedstick , suavitel and Irish spring) from our warehouse with a guaranteed
average return on investment (ROI) of 20-25%.
Could you please let us know the amount you are considering for investment. Thank you




Jason W - castle creek 2:19 PM




                                                                                      EX 21
                                                                                       1977
 Case 2:24-cv-07660-SPG-JPR         Document 17 Filed 09/09/24          Page 110 of 211 Page
                                         ID #:2224



@TL.Tetz My initial inventory investment was going to be around $20-$25K for the first batch of
sourced inventory. With current available products in your warehouse, what percentage of the
total first batch investment would you recommend I spend? Are you also still sourcing products
with higher ROI? Should I save some of my initial batch investment for those items?




TL.Tetz 2:23 PM
We can start around $20k for the first batch and we will send an invoice immediately after that
we will start listing products . right now we have products around 20-25 % ROI but Product
Research team is non stop in sourcing better items with the best sales metrics.




1 reply
 2 months ago
 View thread




Jason W - castle creek 2:24 PM
@TL.Tetz Sounds good.
                                                                                          2:24
Lets do it!




TL.Tetz 2:25 PM
Copy sir we will update you once product goes live
   1




1 reply
 2 months ago




                                                                                       EX 21
                                                                                        1978
Case 2:24-cv-07660-SPG-JPR           Document 17 Filed 09/09/24           Page 111 of 211 Page
                                          ID #:2225


View thread
                                       Friday, September 15th




AAM.Tony 5:06 AM
was added to castle-creek-llc by AAM.Lotis.




CA.Pamella 12:10 PM
Hi @Jason W - castle creek Hope everything is well with you. Kindly check the invoice and as
well as your payment options, below. Once purchased, the items available will literally be listed
in your store. We can only guarantee inventory is available to purchase if the invoice is paid
within 2 days. If you would like to pay with a credit card please be advised that there's a fee of
2.9% + 30¢ per transaction that Stripe charges that we pass on (at no extra cost to our clients)
If you would prefer to wire the payment instead to save this fee, please see the bank account
details in the invoice.
NOTE: Ascend Capventures Inc is providing an inventory guarantee on this purchase if the
invoice is paid within two days of receipt and this invoice is subject to a guarantee that the
minimum ROI of this overall invoice is at least 20% (even though we average 25-35% ROI). If
the item does not sell, we will replace the inventory so that every invoice paid from each client
will yield at minimum a 20% return on investment (i.e. if the invoice is for $10,000, we will
guarantee that you will receive $12,000 back from Amazon.)
PDF
Castle Creek LLC.pdf
PDF




Jason W - castle creek 12:31 PM
@CA.Pamella Can you send me instructions on how to pay by credit card.




                                                                                           EX 21
                                                                                            1979
 Case 2:24-cv-07660-SPG-JPR         Document 17 Filed 09/09/24          Page 112 of 211 Page
                                         ID #:2226




4 replies
 Last reply 2 months ago
 View thread




Jason W - castle creek 1:12 PM
Just paid
PDF
Receipt-2896-3555.pdf
PDF
   1



1 reply
 2 months ago
 View thread
                                     Monday, September 18th




VIPM.Raymond 8:57 PM
left castle-creek-llc. Also, TL.Tetz and 19 others left. Savannah.AM and 2 others joined.
                                   Wednesday, September 20th




Jason W - castle creek 7:11 AM
replied to a thread:
 We can start around $20k for the first batch and we will send an invoice immediately
 after that we will start listing products . right now we have products around 20-25 %




                                                                                        EX 21
                                                                                         1980
 Case 2:24-cv-07660-SPG-JPR           Document 17 Filed 09/09/24            Page 113 of 211 Page
                                           ID #:2227



 ROI but Product Research team is non stop in sourcing better items with the best sales
 metrics.
Can you confirm you received invoice payment and are listing products to go live?
                                      Thursday, September 21st




Jason W - castle creek 11:51 AM
Amazon deactivated my seller account as they want to verify my identity. I scheduled a video
confirmation call for the seller account, but the only dates available are for either next week or
the first week of october. One of the documents they said they may need is an invoice or other
info from my supplier. Any thoughts or advice prior to my call? (edited)




2 replies
 Last reply 2 months ago
 View thread
                                      Tuesday, September 26th




Savannah.AM 6:30 AM
Good Morning @Jason W - castle creek,
I hope this message finds you well.
At Ascend, we place great value on your feedback and needs. Your insights have been
instrumental in shaping our services, and we're excited to introduce a significant improvement
based on your valuable input.
I am thrilled to introduce myself, Savannah Parker, as your dedicated US-based Account
Manager. Alongside myself, an Assistant Account Manager, an Analyst, a Billing Specialist, and
your Store Manager will form an agile and closely-knit team dedicated to maximizing the
success of our partnership. I am here to ensure that your experience with Ascend remains both
smooth and tailored precisely to your unique requirements. I will be your single source of truth
for information pertaining to our partnership, providing you with a seamless point of contact.
I am eager to learn more about your business and objectives. If you have any pertinent
information to share, it will be greatly appreciated and will contribute to the productivity of your
store moving forward.



                                                                                            EX 21
                                                                                             1981
 Case 2:24-cv-07660-SPG-JPR           Document 17 Filed 09/09/24          Page 114 of 211 Page
                                           ID #:2228



Should you have any immediate questions please don't hesitate to reach out to me directly at
savannah.p@ascendecom.com or here through your Slack channel.
We look forward to a successful and prosperous partnership. Together, let's continue to make
your journey with Ascend both efficient and enjoyable.
Warm regards,
Savannah Parker
Sr. Account Manager




Jason W - castle creek 10:24 AM
Nice to meet you. My biggest concern is my store is deactivated. I am waiting on Amazon to
schedule a video call identity verification.




5 replies
 Last reply 1 month ago
 View thread
                                       Wednesday, October 4th




Jason W - castle creek 11:29 AM
@Savannah.AM I just had the identity interview. It went okay. They had alot of questions about
the other users on my account and why they needed access, also alot of questions about who
my supplier is, etc..I think I answered okay, but will know in 3-5 days. Have you run into this
before?




                                                                                          EX 21
                                                                                           1982
 Case 2:24-cv-07660-SPG-JPR          Document 17 Filed 09/09/24           Page 115 of 211 Page
                                          ID #:2229




2 replies
 Last reply 1 month ago
 View thread
                                       Thursday, October 5th




Jason W - castle creek 9:27 AM
@Savannah.AM @AA.Aice @AAM.Lotis @Joseph the review is complete and the seller store
is again active. Team - Can we continue where you left off to get inventory added and products
live asap. Thx you! (edited)
   1   1




2 replies
 Last reply 1 month ago
 View thread
                                       Tuesday, October 10th




Jason W - castle creek 8:49 AM
Hi all. Is there an update when the team will start adding product and getting the store live
again?
                                     Wednesday, October 11th




Jason W - castle creek 3:25 PM




                                                                                          EX 21
                                                                                           1983
 Case 2:24-cv-07660-SPG-JPR         Document 17 Filed 09/09/24           Page 116 of 211 Page
                                         ID #:2230



@Savannah.AM @AA.Aice @AAM.Lotis




Savannah.AM 3:26 PM
Last they said was they are In the process of doing so. @Jason W - castle creek




Jason W - castle creek 3:27 PM
Can you check on it? They were in the middle of it when the store shut down amd since it’s
activation last week it doesn’t seem like any action has been taken? The product was already
in the warehouse and paid. It’s just a matter of setting up the store and loading the product and
activating the store. @Savannah.AM (edited)




Savannah.AM 3:30 PM
We have been daily and that is what they told us. @Jason W - castle creek




Jason W - castle creek 3:32 PM
Ok. Can you keep me updated? I’m not sure what “in the process” means as the store was on
its way before it was shut down. @Savannah.AM (edited)




2 replies
 Last reply 1 month ago
 View thread
                                      Monday, October 16th




                                                                                         EX 21
                                                                                          1984
 Case 2:24-cv-07660-SPG-JPR         Document 17 Filed 09/09/24         Page 117 of 211 Page
                                         ID #:2231




Jason W - castle creek 6:33 AM
Hello, Any updates today on when the store will go live?




Savannah.AM 8:02 AM
I will ask for an updated ETA this morning @Jason W - castle creek




1 reply
 28 days ago
 View thread




Jason W - castle creek 11:24 AM
Ok. Thank you
   1




Jason W - castle creek 8:12 PM
Any updates? It’s been over a week since the store was reactivated (edited)




2 replies
 Last reply 30 days ago
 View thread
                                     Tuesday, October 17th




Jason W - castle creek 2:18 PM




                                                                                   EX 21
                                                                                    1985
Case 2:24-cv-07660-SPG-JPR           Document 17 Filed 09/09/24          Page 118 of 211 Page
                                          ID #:2232



replied to a thread:
Any updates? It’s been over a week since the store was reactivated
@Savannah.AM I am very frustrated. I finished my onboarding about 10 weeks ago. After little
to no response on slack I reached out to Will Basta around 9/12. His influence led to the team
reaching out and I was able to purchase inventory. A week later they were starting to build my
store and after a user was added from the team on my store it deactivated on 9/21. After I got
the notice from Amazon It took me two weeks to get an interview with Amazon to get it up
again. It’s been up for over a week (thursday will be two weeks) and it doesn’t seem like any
movement has happened. Help?
                                     Wednesday, October 18th




Savannah.AM 2:38 PM
I am really sorry you have had that experience. We have been actively working on it to try to
get it turned around for you. The products are in the listing stage now so we are seeing
progress. @Jason W - castle creek
                                      Thursday, October 19th




Jason W - castle creek 6:51 AM
@Savannah.AM @AAM.Lotis @Arianna @BACH.Liz @Joseph @GM Michael @Jovana they
were starting the listing stage on 9/21. Nothing has been listed since. It doesn’t seem like you
can tell me exactly why it is still delayed and why after a month of the store being dormant for
deactivation and two weeks since it’s been up again it’s not being actively worked on?
Inventory is not being listed. I need a date when you can commit to having the store live?.
(edited)




Jason W - castle creek 8:00 AM
replied to a thread:
I will ask for an updated ETA this morning @Jason W - castle creek
Still haven’t responded with an eta when the store will be live.
                                        Friday, October 20th




                                                                                           EX 21
                                                                                            1986
Case 2:24-cv-07660-SPG-JPR          Document 17 Filed 09/09/24          Page 119 of 211 Page
                                         ID #:2233




AAM.Marlon 6:12 AM
was added to castle-creek-llc by AAM.Lotis. Also, AM Teamlead.Skye and 2 others joined.
AA.Aice and 4 others left.




AM Teamlead.Skye 7:22 AM
Hello @Jason W - castle creek, I hope your doing well. My name is Skye I'm your new Account
Manager. I feel we should have a zoom call on Monday so my team and I can get familiar with
your store.
                                                                                            7:24
please use this link to schedule a time best for you on my calendrer. https://calendly.com/skye-
am13/30min




Jason W - castle creek 8:10 AM
@AM Teamlead.Skye nice to meet you. Your calendly doesn’t have openings until next
Thursday. Do you have any availability on Monday? I am available at 8am-9am PDT or 10am-
11:30am PDT. I would just like to know when my store will go live? When will inventory be
loaded? (edited)




AM Teamlead.Skye 10:14 AM
Hey @Jason W - castle creek :) , I opened some more times go ahead and see if there's a time
good for you now, if not unfortunately the next available time is Thursday. Sadly because I was
just given your store yesterday, I have some clients that schedule in advance. I hope those

times work for you so we can talk Monday       (edited)




Jason W - castle creek 10:15 AM




                                                                                        EX 21
                                                                                         1987
Case 2:24-cv-07660-SPG-JPR           Document 17 Filed 09/09/24          Page 120 of 211 Page
                                          ID #:2234



@AM Teamlead.Skye It is still showing no availability on Monday - just showing Thurs/Fri
availability on calendly. (edited)




AM Teamlead.Skye 10:23 AM
It's working now:)




Jason W - castle creek 10:30 AM
@AM Teamlead.Skye thanks. Scheduled. I look forward to meeting you. Honestly, I am at a
point of frustration and I do not understand what is happening with my store or process. The
store was being worked and seller applications were submitted by the ascend team and
approved by amz. When users were added by the ascend team on 9/21 to start inventory
listing, the store was deactivated because of a fraud alert from Amazon. I got a notification from
Amazon and scheduled an interview - I notified the ascend team immediately and got a
response 5 days later. Two weeks later (10/5), it was online again, and I communicated that
immediately to the team. That was two weeks ago. I am just trying to move forward at this point
and understand why the store isn't being actively worked after AMZ reactivated it?




AM Teamlead.Skye 1:38 PM
I truly appreciate you , giving me a breakdown and your experience. This helps me be ready for
Monday and have a plan set in place for you @Jason W - castle creek




Jason W - castle creek 1:40 PM
Thank you.
  1




AM Teamlead.Skye 1:51 PM
I hope you have a wonderful weekend, we'll talk soon :)




                                                                                         EX 21
                                                                                          1988
 Case 2:24-cv-07660-SPG-JPR          Document 17 Filed 09/09/24          Page 121 of 211 Page
                                          ID #:2235


                                       Monday, October 23rd




Jason W - castle creek 2:50 PM
@AM Teamlead.Skye Thank you! To recap our conversation. My Amazon store is not yet live -
after a month of delays with the store being deactivated. You are going to check with the team
on why product is not being listed and I was told my inventory was all currently in the
warehouse so your checking if the carrier issue is resolved and if it applies to shipping from the
warehouse to Amazon. (edited)
   1
                                      Thursday, October 26th




Jason W - castle creek 8:42 AM
@AM Teamlead.Skye any updates or timeline from the team on getting the store live?
                                       Monday, October 30th




Jason W - castle creek 5:28 PM
@AM Teamlead.Skye is there reason why the team can’t continue with brand approvals and
loading product in the store-keeping products inactive- while awaiting the carrier issue to
resolve?



14 replies
 Last reply 16 days ago
 View thread
                                       Tuesday, October 31st




Jason W - castle creek 6:49 PM
replied to a thread:




                                                                                          EX 21
                                                                                           1989
Case 2:24-cv-07660-SPG-JPR           Document 17 Filed 09/09/24           Page 122 of 211 Page
                                          ID #:2236



@AM Teamlead.Skye is there reason why the team can’t continue with brand approvals
and loading product in the store-keeping products inactive- while awaiting the carrier
issue to resolve?
@AA.Van seller verification complete. Thank you.
IMG_6375




  2
                                       Sunday, November 5th




Jason W - castle creek 4:34 PM
Just got this. Account was deactivated due to inactivity. I went thru the steps to reactivate.
Hoping confirmation comes by tomorrow. @AA.Van @AM Teamlead.Skye can we get this
store going? :))))) (edited)
File




Jason W - castle creek 7:52 PM
Reverified again. Ready to roll. @AA.Van @AM Teamlead.Skye (edited)
File




                                       Monday, November 6th




Jason W - castle creek 11:15 AM
@AM Teamlead.Skye here is my inventory. I was told this was in the warehouse on 9/15. They
were loading this on 9/20 when the store was deactivated from Ascend adding users.




                                                                                           EX 21
                                                                                            1990
 Case 2:24-cv-07660-SPG-JPR        Document 17 Filed 09/09/24         Page 123 of 211 Page
                                        ID #:2237


PDF
Castle Creek LLC.pdf
PDF
                                    Tuesday, November 7th




Jason W - castle creek 11:31 AM
Here are messages on 9/15. Purchased inventory already in the warehouse. Is this a store
manager issue?
2 files




                                   Wednesday, November 8th




Jason W - castle creek 8:24 AM
Hi, Any updates today on what happened to the inventory I purchased in Sept (items already in
the warehouse) and why it can’t be listed asap?




8 replies
 Last reply 8 days ago
 View thread




Jason W - castle creek 9:06 AM
replied to a thread:
 Hi, Any updates today on what happened to the inventory I purchased in Sept (items
 already in the warehouse) and why it can’t be listed asap?



                                                                                     EX 21
                                                                                      1991
Case 2:24-cv-07660-SPG-JPR           Document 17 Filed 09/09/24           Page 124 of 211 Page
                                          ID #:2238



Thx you. Let me know the outcome asap. Thx.
  1
View newer replies




Jason W - castle creek 2:04 PM
replied to a thread:
Hi, Any updates today on what happened to the inventory I purchased in Sept (items
already in the warehouse) and why it can’t be listed asap?
Thank you this is good news. However, none of these items were listed in the inventory I
purchased in september and the brands I purchased in september seem to be approved
brands in my seller account. Thoughts? (edited)
View newer replies
                                      Thursday, November 9th




Jason W - castle creek 10:36 AM
Hello, I’m concerned it’s 3 products out of 20k spent in sept from inventory supposedly in the
warehouse already. (Two of the products aren’t listed competitively) and none are FBA which I
was originally told they would be, which is okay if the ROI is there.
Also I understand in the invoice that you may need to replace products but I paid 20k in
inventory already at the warehouse in September and I expect 20k of inventory listed on my
account thru approved brands - in which most on this “invoice” are approved on my seller store
on Amazon.
I’m concerned with the ethics of Ascend and as an Amazon employee have inquired internally
with our seller team the process for filing a compliant. I haven’t taken action but I am very
concerned with the perceived business practices of ascend and I am growing more impatient
each day.
I expect my store to be up and live by Monday with 20k of product I purchased two months
ago. I want to make this work for both of us.
Ps - Skye and current team has been wonderful and communicative. (edited)
                                      Tuesday, November 14th




                                                                                           EX 21
                                                                                            1992
Case 2:24-cv-07660-SPG-JPR          Document 17 Filed 09/09/24          Page 125 of 211 Page
                                         ID #:2239



CSO.Abel 6:47 AM
was added to castle-creek-llc by AAM.Marlon.
                                           Yesterday




Jason W - castle creek 10:31 AM
@AM Teamlead.Skye got my first 3 orders. Two say to ship by tomorrow. Any action needed
from me?




AM Teamlead.Skye 10:45 AM
Hello @Jason W - castle creek, awesome , no there is no action need on your end. Your store
team handles all those things.




Jason W - castle creek 10:46 AM
@AM Teamlead.Skye ok. Thanks! A bit nervous since it’s my first sale and since the store was
already deactivated once. Ha. Just don’t want any bad ratings out of the gate.




AM Teamlead.Skye 10:48 AM

I understand, i will check with the team to make sure everything is moving smoothly.

  1




Jason W - castle creek 10:31 AM
@AM Teamlead.Skye got my first 3 orders. Two say to ship by tomorrow. Any action needed
from me?




                                                                                       EX 21
                                                                                        1993
Case 2:24-cv-07660-SPG-JPR            Document 17 Filed 09/09/24        Page 126 of 211 Page
                                           ID #:2240




AM Teamlead.Skye 10:45 AM
Hello @Jason W - castle creek, awesome , no there is no action need on your end. Your store
team handles all those things.




Jason W - castle creek 10:46 AM
@AM Teamlead.Skye ok. Thanks! A bit nervous since it’s my first sale and since the store was
already deactivated once. Ha. Just don’t want any bad ratings out of the gate.




AM Teamlead.Skye 10:48 AM
I understand, i will check with the team to make sure everything is moving smoothly.
  1
                                      Thursday, November 16th




Jason W - castle creek 11:04 AM
Hi @AM Teamlead.Skye @AA.Van the two orders that should be shipped today still haven’t
been shipped. I know there is still time in the day, but I am growing more concerned my orders
are not being fulfilled. (edited)




Jason W - castle creek 11:45 AM
@AM Teamlead.Skye Thank you for the call and update. To confirm, you will check with Van to
ensure shipments are going out and the software is working - specifically i have 2 orders to be
shipped today. 2. Get me an invoice of inventory costs 3. Get a timeline of the next batch of
inventory to be loaded to my store.
                                                                                          11:48
@AM Teamlead.Skye Lastly 4. Confirm two of my products are listed competitively. I received
notices two of my products are not listed competitively and not showing up in the buy box.




                                                                                        EX 21
                                                                                         1994
Case 2:24-cv-07660-SPG-JPR                 Document 17 Filed 09/09/24                Page 127 of 211 Page
                                                ID #:2241




AM Teamlead.Skye 1:16 PM
Hello @Jason W - castle creek, It was nice talking to you today. So I reached out to your store
team and they let me know the product should go out today. Concerning the other request you
made I'm work on get the pricing corrected and getting you that inventory invoice.




Jason W - castle creek 2:23 PM
@AM Teamlead.Skye thank you. It was nice talking with you too. Also from our conversation
please check timeline for the next batch of inventory to be added to my store and let me know.
Have a good day.
                                            Tuesday, November 21st




Jason W - castle creek 7:37 AM
@AM Teamlead.Skye and team have a happy thanksgiving. Thx for your help these past few
weeks. (edited)
                                            Tuesday, November 28th




Jason W - castle creek 11:37 AM
@AM Teamlead.Skye @AA.Van It is good to see sales trickle in. The team has steadily added
some inventory on Friday and Monday, most of what they have added is already sold out. Is
there more quantities or inventory coming? Putting $20K down for inventory in September - I
want to ensure to take advantage of this shopping season.




AM Teamlead.Skye 11:50 AM
Audio
0:42
1x
Hi, Jason., so I just wanted to give you a quick update. So,, inventory will be slowly placed in your store in
batches., so what I'm gonna do is I'm… View transcript




                                                                                                        EX 21
                                                                                                         1995
Case 2:24-cv-07660-SPG-JPR            Document 17 Filed 09/09/24            Page 128 of 211 Page
                                           ID #:2242



   1




AA.Van       2:12 PM

Hi @Jason W - castle creek I see that you have a lot of orders coming up since items were
listed in your store. We've request added items, and yes as you mentioned your team add
some listings on Monday. Here's a screenshot of your active inventory as of now. We will follow
up again on them. Thank you.
cc: @AM Teamlead.Skye
2 files




   2




Jason W - castle creek 2:49 PM
Thank you.




Jason W - castle creek 5:39 PM
Got this notification today. It’s saying my store is at risk for deactivation. It is showing my order
defect rate at 50%. (Through 11/14). It should improve daily as more orders have come in but I
wanted you to be aware. Not sure if there are any other proactive measures we should
take?@AA.Van @AM Teamlead.Skye (edited)
                                                                                                5:39
IMG_6542




                                                                                             EX 21
                                                                                              1996
 Case 2:24-cv-07660-SPG-JPR         Document 17 Filed 09/09/24         Page 129 of 211 Page
                                         ID #:2243




AM Teamlead.Skye 9:40 PM
Thank you , I appreciate you making me aware your store team already is but I will inform them
to please keep a close eye on it
   1
                                   Wednesday, November 29th




Jason W - castle creek 2:34 PM
@AM Teamlead.Skye @AA.Van There is a pending return from 2 days ago on the seller
account. I am concerned it will cause another instance for an ODR. Also it is being shipped
back to my corporate address, not the warehouse. What should I do? I can re-send the item to
the correct address if it comes here. ****The return address on my store is my corporate
address not the warehouse. The team needs to update the return address settings on the seller
store ASAP. (edited)




4 replies
 Last reply 5 days ago
 View thread
                                    Thursday, November 30th




Jason W - castle creek 7:48 AM
replied to a thread:
 @AM Teamlead.Skye @AA.Van There is a pending return from 2 days ago on the seller
 account. I am concerned it will cause another instance for an ODR. Also it is being
 shipped back to my corporate address, not the warehouse. What should I do? I can re-
 send the item to the correct address if it comes here. ****The return address on my
 store is my corporate address not the warehouse. The team needs to update the return
 address settings on the seller store ASAP.




                                                                                       EX 21
                                                                                        1997
Case 2:24-cv-07660-SPG-JPR           Document 17 Filed 09/09/24          Page 130 of 211 Page
                                          ID #:2244



What phone number should I enter to assist with delivery? What should I enter for name? My
store name? Also should I choose “offer free returns for all ifems? Some items? Or none of my
items? (edited)
View newer replies




AA.Van       1:22 PM

replied to a thread:
@AM Teamlead.Skye @AA.Van There is a pending return from 2 days ago on the seller
account. I am concerned it will cause another instance for an ODR. Also it is being
shipped back to my corporate address, not the warehouse. What should I do? I can re-
send the item to the correct address if it comes here. ****The return address on my
store is my corporate address not the warehouse. The team needs to update the return
address settings on the seller store ASAP.
@Jason W - castle creek Please name it like this Jason Winsor | Castle Priority Goods, the
number should be +1                   . And yes, choose offer free returns for all items. Thank
you.
View newer replies
                                       Yesterday (12/4/2023)




Jason W - castle creek 10:18 AM
@AM Teamlead.Skye thx for the call.
  1
                                         Today (12/5/2023)




AAM.Marlon 10:56 AM

Hello @Jason W - castle creek,

In an ongoing effort to enhance the efficiency of our support services, we will be gradually
transitioning from Slack to email as our primary communication platform, effective December 8,
2023.




                                                                                         EX 21
                                                                                          1998
Case 2:24-cv-07660-SPG-JPR          Document 17 Filed 09/09/24          Page 131 of 211 Page
                                         ID #:2245



For all non-urgent matters, please direct your inquiries, feedback, and support requests to our
dedicated email address: skye@ascendecom.com. This change is designed to centralize our
communications, creating a more organized and efficient process for both our team and
esteemed clients like yourself.

Best Wishes,

Ascend Leadership




                                                                                        EX 21
                                                                                         1999
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 132 of 211 Page
                                  ID #:2246




                      Attachment +




                                                                      EX 21
                                                                       2000
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 133 of 211 Page
                                  ID #:2247
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 134 of 211 Page
                                  ID #:2248
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 135 of 211 Page
                                  ID #:2249
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 136 of 211 Page
                                  ID #:2250
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 137 of 211 Page
                                  ID #:2251
Case 2:24-cv-07660-SPG-JPR      Document 17 Filed 09/09/24        Page 138 of 211 Page
                                     ID #:2252



       Amazon employee to prevent fraud. All I ask is for my 30k be returned and
       refunded the remaining amount of inventory. Like I said their has only been 3-4k
       of inventory purchased out of 20k. We can part ways and I will avoid taking
       action internally to have this investigated. (Skye has been good about trying to
       communicate and has been an advocate however with the real concerning
       questions about my inventory, invoice, why my store only has a few products -
       many times it’s a “let me check, let me get back to you”). Help me resolve this
       please. Jason Winsor




                                                                                 EX 21
                                                                                  2006
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 139 of 211 Page
                                  ID #:2253




                      Attachment ,




                                                                      EX 21
                                                                       2007
Case 2:24-cv-07660-SPG-JPR                                    Document 17 Filed 09/09/24                                         Page 140 of 211 Page
                                                                   ID #:2254

   Ascend Ecommerce Inc.
   1939 N Great SW Parkway
   Grand prairie, TX 75050
   5307647141


                                                                                                                       Invoice Number: U0923PMA01_865CUX55Q
                                                                                                                        Invoice Date:      2023-09-15
                                                                                                                          Due Date:        2023-09-22
   Bill To:
   Jason Winsor
   Castle Creek LLC


   PHOENIX AZ
   United States of America


                              Item Description                                   Avg ROI              Quantity            Unit Price                 Amount
   Softsoap Moisturizing Liquid Hand Soap Milk Protein And Honey, Milk
                                                                                 20.02%                  250                 2.15                    $537.50
   Protein and Honey 7.5 oz
   Suavitel - US06515A Fabric Softener & Fabric Conditioner, Soothing
                                                                                 20.00%                  100                $12.91                  $1,291.00
   Lavender - 120 Fluid Ounce
   Ultra Brite Bk Sda Size 6z Ultrabrite Baking Soda & Peroxide
                                                                                 20.05%                  200                 $4.06                   $812.00
   Whitening Toothpaste
   Irish Spring Mens Body Wash, Active Scrub Exfoliating Body Wash for
                                                                                 20.03%                  220                 $4.03                   $886.60
   Men, 20 Fl oz
   Lady Speed Stick Antiperspirant Deodorant, Invisible Dry, Wild
                                                                                 20.03%                  300                 $1.90                   $570.00
   Freesia 2.30 oz
   Speed Stick Power Anti-Perspirant Deodorant Unscented 3 oz                    20.01%                  100                 $2.14                   $214.00
   Irish Spring Mens Body Wash, Active Scrub Exfoliating Body Wash for
                                                                                 20.03%                  300                 $4.03                  $1,209.00
   Men, 20 Fl oz
   Softsoap Moisturizing Liquid Hand Soap Milk Protein And Honey, Milk
                                                                                 20.02%                  120                 2.15                    $258.00
   Protein and Honey 7.5 oz
   Softsoap Luminous Oils Moisturizing Body Wash - Coconut Oil &
                                                                                 19.96%                  120                $10.08                  $1,209.60
   Lavender - 20 fl oz
   Speed Stick Power Anti-Perspirant Deodorant Unscented 3 oz                    20.01%                  110                 $2.14                   $235.40
   Suavitel Ultra Fabric Softener, 169 Fluid Ounce                               20.00%                  120                $31.61                  $3,793.20
   Irish Spring Deodorant Bar Soap Moisture Blast with HydroBeads 3.75O          20.02%                  110                $11.80                  $1,298.00
   Sparkle Paper Towels, 2 Rolls (Pack of 24)…                                   20.22%                  115                 34.49                  $3,966.35
   Softsoap Antibacterial Liquid Hand Soap Pump, Clean & Protect, Cool
                                                                                 20.12%                  200                 3.28                    $656.00
   Splash - 11.25 Fl. Oz
   Irish Spring Aloe Bar Soap, (00035000141705), 3.7 Ounce                       20.01%                  120                 6.18                    $741.60
   Irish Spring Bar Soap for Men, Original Clean, Smell Fresh and Clean fo       20.02%                  72                  4.29                    $308.88
   Mennen Speed Stick Antiperspirant and Deodorant Irish Spring Original         20.00%                  809                 2.49                   $2,014.41



                                                                                                                      Total Amount Due                      $20,001.54




   Message to customer:

   For immediate posting of payments, please send wire to bank details
   listed below as it can take up to 4 business days for payments thru
   bill.com to get verified.

   Bank Name: Chase
   Account Name: Ascend Capventures
   Account Number:        8792
   Routing Number:
   If ACH:
   If Wire:
   Address: 1309 Coffeen Avenue, Sheridan, WY 82801




   Inventory Availability Payment within 72 hours enhances our ability to secure optimal inventory. This timeline is crucial for efficient sourcing and ensures the
   highest chance of reduced lead time and product availability. Please note that inventory availability is subject to change based on availability from our warehouse
   and/or third-party suppliers and manufacturers, this includes lead times. Payment Options and Fees: Pay with a credit card and incur a 2.9% + 30¢ fee, passed
   on from Stripe. Wire transfers are fee-free. Inventory Replacement and Sell Period: If items don't sell within the period outlined in the MSA, starting from the date
   of the product being actively listed, the buyback/ replacement of products may be enacted. Product Changes: Ascend reserves the right to change products listed
   on this invoice.This may affect the total units sourced per product based on unit price. Changes ensure similar or higher ROI on Amazon sales. Consumer market
   changes and product availability/ lead time fluctuations can influence sourcing decisions. Chargeback Clause: In the event that the client initiates a chargeback for
   product, it will constitute a material breach of contract. Master Services Agreement (MSA): These terms are subject to our Master Services Agreement (MSA), if
   applicable. Client Agreement: By paying this invoice, you acknowledge and accept these terms.




                                                                                                                                                        EX 21
                                                                                                                                                         2008
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 141 of 211 Page
                                  ID #:2255




                      Attachment -




                                                                      EX 21
                                                                       2009
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 142 of 211 Page
                                  ID #:2256
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 143 of 211 Page
                                  ID #:2257
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 144 of 211 Page
                                  ID #:2258




                      Attachment .




                                                                      EX 21
                                                                       2012
           Case
2/26/24, 1:57 PM 2:24-cv-07660-SPG-JPR           Document
                                                Gmail            17LLC -Filed
                                                      - Castle Creek     contract09/09/24
                                                                                  issues - request Page     145 of 211
                                                                                                   a resolution          Page
                                                          ID #:2259

                                                                                             Jason



 Castle Creek LLC - contract issues - request a resolution
 Jason <               @gmail.com>                                                                   Mon, Feb 26, 2024 at 1:57 PM
 Draft To: Skye Baker <skye@ascendecom.com>



   On Tue, Jan 16, 2024 at 10:27 AM Skye Baker <skye@ascendecom.com> wrote:
    Hello Jason,

     We have been trying to reach out to you via slack

     On Tue, Jan 16, 2024, 11:17 AM Jason <                  @gmail.com> wrote:
      Hi Skye,

       My store is deactivated - due to chargebacks, negative reviews ODR rate was above 1% too long. All due to
       customers never receiving a product. Like I said earlier, about 20 out of 200 of my customers never received their
       order or 10%.
       I never received an invoice for product added to my store.
       I never received a monthly P&L.

       I am not sure where there is to go from here.

       Best,



       On Tue, Jan 16, 2024 at 7:56 AM Skye Baker <skye@ascendecom.com> wrote:
        Hello Jason,

         As you are aware / already checking our service agreement, please review section 3.1 and 3.2, regarding
         termination of contract.




                                                                                                                   EX 21
                                                                                                                    2013
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                                                     - Castle Creek     contract09/09/24
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                                                         ID #:2260




        Also, if we can get a response in slack: https://ascend-ecom-workspace.slack.com/archives/
        C05LM46SBQV/p1705070212665459.

        Thanks,

        On Sat, Jan 13, 2024 at 1:42 AM Jason <                  @gmail.com> wrote:
         Hello,

          Another breach of contract from Ascend has been the lack of monthly reporting as noted in the service
          agreement with Ascend (usually by the 10th of each month according to the contract). To-date Castle Creek, LLC
          has received zero monthly P&L reports.

          I initiated the chargeback with my bank as I still have not seen an invoice showing the minimal inventory related
          to my storefront, or any plan to purchase and add inventory to my storefront. I made this request for an invoice in
          November 2023 and have consistently asked for one. I can only assume the invoice provided from Ascend in
          September 2023 was counterfeit as those products were never made available to me.

          Lastly, as related to Ascend breach of contract relating to handling customer service. Amazon has strict customer
          service guidelines, which Ascend has continually failed to live up to. In the latest issue, my store received a
          chargeback request from a customer that never received a table in November. To-date I have audited my store
          and roughly 20 orders out of the 210 or so were never delivered. That is 10% of total orders. Ascend's claim
          order issues have always been a carrier issue is contrary to facts. UPS is not that bad as a carrier and would be
          out of business with business practices like that. Also, ascend never contacted any of my customers proactively
          to resolve. They only contacted two customers and that was after negative reviews. Now my store is at risk of
          deactivation again due to this chargeback and gross negligence on the part of Ascend. A completely avoidable
          situation if customers who never received product were contacted by ascend and refunded.


                                                                                                                  EX 21
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                                                     - Castle Creek     contract09/09/24
                                                                                 issues - request Page     147 of 211
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          With these breaches, I will be terminating my relationship with Ascend. I still hope to be able to part ways
          amicably, so I am asking for a partial return of my initial investment of $30K. If we can come to an agreement on
          a partial refund of the $30K, I will not pursue reporting these concerns to the Amazon Seller team. If we can't, as
          an Amazon employee I am under a code of ethics to report any possible violations of Amazon's T&Cs. Amazon
          can conduct its only investigation and come to its own conclusion.


          Castle Creek, LLC
          Jason Winsor


          On Tue, Jan 9, 2024 at 11:30 AM Jason <                   @gmail.com> wrote:


            Dear Ascend,

            I hope this message finds you well. I am writing to bring to your attention several
            concerning breaches of Castle Creek, LLC's service agreement with Ascend CapVentures
            Inc.

            Amazon Store Deactivation (9/21/23): On September 21, 2023, my Amazon seller store
            was deactivated and Ascend made no attempt to let me know of this deactivation. I
            received notice from Amazon and despite immediately notifying Ascend from my end,
            there was a lack of acknowledgement for several days, forcing me to directly engage with
            Amazon to reactivate the store.

            Breach: This incident directly contradicts the clause in our agreement, which stipulates
            that Ascend will handle all duties to reinstate the store in the event of suspension.

            Inventory Payment and Product Upload (Since 9/15/23): Castle Creek LLC paid an invoice
            sent by Ascend for products on September 15, 2023. However, since that date, Ascend
            has not uploaded the products to Castle Creek's Amazon store - a few thousand in
            alternative products have been added. Castle Creek has repeatedly requested a status
            update on the $20,000 spent on products in September, either with an invoice or a
            detailed plan for purchase and upload. No such notification has been provided. It's
            important to clarify that Ascend has spent a few thousand dollars on inventory, as
            indicated in the sold inventory on Castle Creek's Amazon store. My request is for a refund
            of the net inventory amount.

            Breach: Ascend breached the agreement by not uploading the product or alternative
            product despite Castle Creek's payment of the invoice. Additionally, Ascend failed to
            provide adequate communication regarding the status of the $20,000 spent on products.
            Contractual Violation: The agreement outlines the Manager's responsibility to handle
            product research, listing, and fulfilling orders, and Ascend's failure to upload product and
            communicate violates these terms.
            Undelivered Orders (December 2023): During the first 7 days of December 2023,
            approximately 10-15 orders were not delivered to customers. Jason from Castle Creek
            proactively communicated with Ascend to resolve this issue, but to date, these orders
            remain undelivered. Customers received no communication from Ascend on behalf of
            Castle Creek regarding the problem. Two instances resulted in negative customer reviews,
            and while Ascend emailed those customers, others were not notified of the delivery issue.
                                                                                                                  EX 21
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                                                                                            a resolution
                                                ID #:2262
             Customers are continually contacting Amazon for chargeback or refunds. They have
             received no proactive communication from the store team.

             Breach: Ascend breached the agreement by failing to deliver 10-15 orders during the first
             7 days of December 2023. Additionally, Ascend did not adequately communicate the issue
             to customers.
             Contractual Violation: The Manager is responsible for handling customer service, order
             fulfillment, and addressing issues concerning the Amazon.com seller account, which
             includes notifying customers about delivery issues.

             Considering these breaches, we believe Ascend CapVentures Inc. has not fulfilled its
             obligations under the service agreement, leading to financial losses and damage to our
             business reputation. In light of these circumstances, we kindly request a refund of the net
             inventory cost, which includes the $20,000 spent on inventory, and the initial fee of
             $30,000, as specified in our agreement and part ways amicably.

             I understand the importance of resolving these matters amicably and are open to
             engaging in discussions to find a fair and mutually beneficial solution. I expect a
             resolution by January 12, 2024. If these concerns are not adequately addressed, Castle
             Creek LLC will have no choice but to notify Amazon (as this store is coded as an Amazon
             employee store) of concerns of fraudulent behavior based upon Castle Creek's own
             experience. Additionally, I will proceed with a chargeback of $20,000.

             I look forward to your prompt attention to this matter and appreciate your cooperation in
             rectifying the issues raised.

             Thank you for your prompt consideration.

             Sincerely,

             Jason Winsor

             Castle Creek, LLC

        --
        ClientService Manager




                                                                                                            EX 21
                                                                                                             2016
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 149 of 211 Page
                                  ID #:2263




                             Exhibit 




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24
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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24
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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24
                                  ID #:2266
                                                          Page 152 of 211 Page




   0ÿ  ÿÿÿÿ!ÿ"ÿ"ÿÿÿ #ÿÿ
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   3ÿ ÿ ÿ'&ÿÿ-"ÿ ÿÿÿ&ÿ+ÿÿÿÿÿ
   4ÿ ÿÿÿÿÿ"ÿ.ÿÿÿÿ ÿ""+ÿ
   5ÿ        8+ÿ ,ÿÿ0'"&!ÿ,ÿÿÿÿÿÿÿ.1ÿ"2"'ÿ-ÿ
   6ÿ '&ÿÿ"ÿ"ÿÿ2&!ÿ&ÿÿ.+ÿ,ÿÿÿ
   7ÿ 2&1ÿ"2"'ÿÿÿÿÿÿ ÿ&ÿ,ÿÿÿÿÿ
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   9ÿ 2&ÿÿÿÿ ÿÿ"ÿ!ÿ ÿ (ÿ&ÿÿ.!ÿÿ ÿ
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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24
                                  ID #:2267
                                                           Page 153 of 211 Page




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   3ÿ &#ÿ!*ÿÿÿ#ÿ&ÿ#ÿ+,ÿÿ& +ÿ-ÿÿÿ
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   5ÿ ÿÿ-ÿÿ"#ÿ&ÿÿ!*ÿÿ"ÿ)ÿÿ#ÿ
   6ÿ ÿ#+ÿ#ÿÿÿ95/ÿÿ,ÿ0ÿÿ#ÿ#ÿ"#ÿÿÿÿ
   7ÿ ÿÿ"ÿ#ÿÿÿ&)ÿ#ÿÿÿ"#ÿÿ1&ÿ#&&,2ÿÿ
   8ÿ -ÿÿÿ#ÿ#ÿÿÿ#"ÿÿ#ÿ! ÿÿ)ÿ'ÿ#ÿ
   9ÿ ÿ,ÿÿÿÿ#ÿ!ÿ" ÿ +ÿÿ&#&&,ÿÿ
  0ÿ 03,ÿ 4ÿ'ÿ!&ÿ24)ÿ223)ÿÿÿÿ#ÿÿ&&ÿÿ#ÿ
  00ÿ ÿÿÿ'-ÿÿÿ&ÿ"#ÿ"ÿ+,ÿ0ÿÿÿÿ
  02ÿ &&ÿÿ" ÿ1"#ÿ04ÿ#ÿ&+ÿ+,2ÿÿ
  03ÿ 04,ÿ 4ÿ'ÿ!&ÿ25)ÿ223)ÿÿÿÿ#ÿÿ" ÿ&-ÿ
  04ÿ "#ÿ+ÿÿÿÿ +ÿÿÿÿÿ)ÿÿ#ÿ&,ÿ
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  08ÿ 05,ÿ ÿ" ÿÿ'+ÿ#ÿ ÿÿÿ#ÿ,ÿÿ-ÿÿ
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  22ÿ +ÿÿ+ÿ56) ÿ'-ÿ"#ÿ#ÿÿ+ÿÿ +'ÿÿÿ"#ÿ#ÿ
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  25ÿ ÿ'ÿ#ÿ"-,ÿÿÿ#ÿÿ" ÿÿ"-ÿÿÿÿÿÿ
  26ÿ '+ÿ#ÿÿÿ#ÿ"-+,ÿÿ
  27ÿ 07,ÿ 8ÿ)ÿ'ÿ)ÿÿÿ#ÿ!ÿ#ÿ"ÿ"')ÿ
  28ÿ 1!ÿ$2ÿÿ1!ÿ% &)2ÿ"##ÿÿ#ÿÿÿ',ÿÿ
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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24
                                  ID #:2268
                                                          Page 154 of 211 Page




   0ÿ ÿÿÿÿÿÿ!"ÿ#ÿ$ÿÿÿ!%"ÿ
   2ÿ ÿ!ÿ&ÿ'!ÿÿ&ÿ( %)ÿÿÿÿ!ÿ"ÿ
   3ÿ "ÿ*ÿÿÿ ÿ!ÿÿ+!!,ÿÿ"ÿ*ÿÿÿÿÿ
   4ÿ ÿ ÿ#ÿ$ÿ *ÿ"ÿ,ÿ-.*ÿÿ/ÿ%ÿÿÿÿÿ
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   6ÿ ÿ!ÿÿÿ!ÿÿÿ%,ÿÿÿ)*ÿÿ! ÿ! ,ÿ
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   9ÿ ÿ-&#1ÿ2ÿÿ&ÿ'!ÿ* ÿ%ÿÿ&ÿ( %)#ÿÿÿ
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  00ÿ /ÿ! ÿ!"ÿ)!ÿÿ566, 7ÿ*ÿ36ÿ!,ÿ"ÿ*ÿÿ
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  2ÿ ÿÿÿÿ!,ÿ*ÿ5:ÿÿÿ"ÿÿ!ÿ"ÿ*/ÿ
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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 155 of 211 Page
                                  ID #:2269
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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24
                                  ID #:2270
                                                          Page 156 of 211 Page




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   3ÿ 1ÿÿ#ÿ&ÿ*ÿ'ÿ*ÿ"ÿ$ÿ+ÿ# ÿ$# ÿÿ0'ÿ
   4ÿ $#ÿ#ÿ$#ÿ+ÿ"#ÿ!ÿ*''ÿ!ÿ"ÿ$ÿ2334567893ÿ;ÿ&$ÿÿ
   5ÿ "'ÿÿ#!!'ÿ'ÿ!.ÿ1+ÿ#ÿ<ÿ!"ÿ!+*'ÿ-ÿ,ÿ1 !ÿ
   6ÿ *!"!0ÿ#"'ÿÿ+ÿ+ÿ#+!ÿ$ÿ##*ÿ1+ÿ+#ÿ1++ÿ
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   8ÿ        25ÿ ÿ 'ÿ+ÿ0!#ÿ1 !ÿ-0ÿ#ÿ!.ÿÿÿ ÿ3ÿ
   9ÿ 223ÿ1ÿ'!ÿ$ÿ1ÿ+ÿ#ÿ0ÿ'ÿ-$ÿÿ0ÿ+ÿ+ÿ*ÿÿ
  0ÿ <'ÿ'ÿ!.ÿ$ÿ+=!ÿ-*!ÿ!ÿÿ''ÿÿ+"ÿÿÿ ÿ1+ÿ+#ÿÿ'!*!!ÿ
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  02ÿ ÿ+ÿ+ÿÿ#!!'ÿ>#ÿ?*ÿ0ÿ?.'ÿÿ+#ÿ.1ÿ+ÿ+ÿ
  03ÿ ".ÿÿ+!ÿ1ÿ<'!ÿ#ÿ!.ÿÿ'ÿÿ!.'ÿ$ÿÿ*'ÿÿÿ$*'ÿ
  04ÿ @+ÿ$1ÿ#ÿÿ!ÿÿ$# ÿ# ÿÿ&!'ÿ.1ÿ+ÿ=ÿ'ÿÿ
  05ÿ ÿ+ÿ!0ÿ0ÿ#ÿ*#!ÿÿÿ"+ÿ0!ÿÿ ÿ4ÿÿ
  06ÿ 'ÿ'ÿ+ÿÿ'ÿÿÿ+ÿ!0ÿÿ'1'ÿ+ÿ".ÿ+ÿÿ
  07ÿ +!ÿ'ÿ!'ÿ+ÿ+'ÿÿ*""ÿ# #ÿ.1ÿ'ÿ+'ÿÿ+'ÿ-.ÿ
  08ÿ $#ÿ+#ÿÿ!"ÿ*#*!ÿ$1A*"!ÿ$#ÿ#ÿÿ.ÿ-*ÿÿ#+ÿ$ÿ
  09ÿ +#ÿÿÿ-.ÿÿ#ÿ1+ÿÿ'!ÿ+ÿ+ÿ''ÿ+ÿ$*'ÿÿ<"!!'ÿ
  2ÿ #ÿ'!*#ÿ'ÿ'!""#ÿÿ+ÿ' ÿ'ÿ.ÿ$ÿ##*ÿ
  20ÿ !'ÿ+ÿ!*ÿÿÿ+ÿ"$!! ÿ'ÿB<Cÿ!0ÿ+ÿ
  22ÿ 1 !ÿ'0!'ÿÿÿ#ÿÿ!ÿ*"ÿ
  23ÿ 26ÿ ÿ$*'ÿÿ# ÿ''!!ÿ$ÿ/ÿ !ÿA$*'ÿ$ÿ+ÿ#"ÿ
  24ÿ 'ÿ"'ÿ+#ÿÿ+ÿ$*'ÿD*!ÿ# ÿ!ÿÿ+'ÿÿ+'ÿ$#ÿÿÿ
  25ÿ 0ÿ'!ÿ/ÿ !ÿ"'ÿÿ ÿ05ÿ223ÿ!ÿ+ÿ+ÿ'!ÿ!ÿ*"ÿÿ
  26ÿ B*""ÿ# #Cÿ'ÿ1*'ÿ.ÿ05ÿ-*!!!ÿ'!ÿÿ''ÿÿ1 !ÿ$*!'ÿ
  27ÿ -*!ÿÿ+*+ÿ/ÿ !ÿ1 !ÿ+ÿ(+$ÿE0*ÿ$$ÿ'ÿ1 !ÿ+$ÿ
  28ÿ
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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24
                                  ID #:2271
                                                          Page 157 of 211 Page




   0ÿ ÿ ÿ!"ÿ"ÿÿ ÿ#ÿ!ÿ ÿ$ÿ%&'ÿ(!!ÿ"ÿ"ÿÿ
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  04ÿ &ÿ&ÿ-ÿ "ÿ"&&ÿÿ0 /ÿ2ÿ1ÿ"&ÿÿÿ ÿ!ÿ!ÿ#&ÿ
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  06ÿ  ÿ"/ÿ!ÿ$ÿ""&ÿ4/ÿÿ0 /ÿ3'ÿ#ÿ(ÿ!ÿ/ÿÿ0 /ÿ0'ÿ
  07ÿ (!!ÿ#ÿ(!ÿ!ÿ!5&/ÿ"""ÿ&ÿÿ!ÿÿÿ
  08ÿ 28ÿ 3ÿ0 /ÿ3'ÿ$ÿ%&ÿÿ ÿ#ÿ"ÿ&ÿ4ÿ67ÿ
  09ÿ "/ÿ!ÿ!ÿ%""ÿ&&ÿ/ÿ#&ÿ899:;<=>?9ÿAÿ"ÿÿÿ&ÿÿ
  2ÿ /ÿ#ÿ "ÿ7(ÿÿ&ÿ)"&ÿ!!ÿ4ÿ05'ÿ223ÿ
  20ÿ 29ÿ $ÿ &ÿ$ÿ( "ÿ".ÿ(!ÿÿ#( &ÿ(!ÿ)"&ÿÿ$ÿ4ÿ223'ÿ
  22ÿ $ÿ"ÿÿÿBBCÿ &ÿ  ÿBBCÿ$ÿ&ÿ#ÿÿÿ#ÿ&ÿ$ÿ7ÿ/ÿ
  23ÿ 4/'ÿ$ÿ"ÿÿÿ) ÿ"ÿÿ!ÿÿ#ÿ/ÿ"ÿ( "ÿ)!ÿD&"ÿ
  24ÿ !ÿ ÿ&&""ÿ$ÿ"&ÿ( "ÿ/ E ÿ
  25ÿ 3ÿ $ÿ"&ÿÿ$%/ÿ/7.ÿ)ÿ(!ÿ)"&ÿÿ4ÿ27'ÿ
  26ÿ 223ÿ-ÿ "ÿ"&ÿ#ÿ)"&ÿC %"ÿ$ÿ&"&ÿ!ÿÿÿ
  27ÿ ÿ!ÿ#ÿ/ÿ%/ÿ&&ÿÿ"ÿ(!ÿ9ÿ&/"ÿ#ÿ7ÿ"&ÿ#ÿ" 'ÿ$ÿ
  28ÿ &ÿÿÿ#&ÿ#ÿ)"&ÿ#ÿ!ÿ&##ÿ7(ÿ(!ÿ$ÿ"ÿ&ÿ(!ÿ$ÿ
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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24
                                  ID #:2272
                                                          Page 158 of 211 Page




   0ÿ ÿÿ ÿ!"#$ÿ&ÿÿÿ'ÿÿ'ÿ()ÿ*ÿ+ÿÿ,-)ÿ
   2ÿ ')./ÿ01ÿ!"#$ÿ2ÿÿÿ'ÿÿ'ÿ()ÿ*ÿ1 ÿ3+ÿ
   3ÿ 0ÿ.'ÿ+ÿ.')./ÿ1ÿÿ+ÿ'ÿ
   4ÿ        30ÿ 5ÿ6')ÿ57ÿ2237ÿ,ÿ3 ÿ'((ÿÿ+-ÿÿ.ÿ ÿ3+ÿ1)ÿ
   5ÿ ÿ1 7ÿ8+ ÿ8+ ÿÿÿ+3ÿ'(ÿ*ÿ+ÿ ÿ!"#$ÿ9ÿÿÿ
   6ÿ 'ÿÿ'ÿ1 ÿ*ÿ+ÿ: /ÿ11'ÿ,ÿ+ÿ3+ÿÿ0ÿ
   7ÿ (-ÿ1ÿ; ÿ.'ÿ+ÿ<+ÿ3ÿ-' )ÿÿ+-ÿÿ 7ÿ
   8ÿ 8+ ÿ-ÿ1ÿÿÿ*ÿ)ÿ*1 7ÿ'ÿ+ÿ,ÿ3'ÿÿ
   9ÿ  ÿ3+ÿ2ÿ)ÿ*ÿ()ÿ1)ÿ*ÿ-ÿ
  0ÿ 32ÿ 5ÿÿ.'ÿ6')ÿ27ÿ,ÿ=(ÿ1)ÿÿ-ÿÿ('ÿ>;+ÿ
  00ÿ ((ÿ( ?ÿ+ÿ3 ÿÿÿ.ÿÿ*ÿ ÿÿ1)ÿÿ0ÿ+ÿÿ1ÿÿ
  02ÿ 3'ÿ.ÿÿ*ÿÿÿ(ÿ<+ÿ,ÿ+/ÿÿ01 7ÿ,ÿ3ÿ+ÿ+ÿ1ÿ
  03ÿ ('ÿ3 ÿÿ*ÿ.'ÿ+ *ÿ+ÿ(ÿ*ÿ3+ÿ0ÿ3 ÿÿÿÿÿ*ÿ
  04ÿ ÿ1)ÿÿ,ÿ ÿ+ÿ('ÿ3'ÿ-ÿÿÿ+ÿ(ÿ0ÿ((ÿ,ÿ
  05ÿ  ÿ+ÿ+ÿ('ÿ+ÿ3 ÿÿ3+ÿ+)ÿ+ÿ-ÿ,ÿ+ÿ'ÿ
  06ÿ ÿÿ.'ÿ+ÿÿ+ÿÿ+ÿ3'ÿÿ+ÿ1ÿ.'ÿÿ!"#$ÿ
  07ÿ @ÿÿ'ÿÿ'ÿ(ÿ*ÿ11'ÿ,ÿ=+ÿ3+ÿ0ÿ
  08ÿ .'ÿ+ÿ( ÿ
  09ÿ 33ÿ 0ÿÿ1ÿ**ÿ+ÿ.'ÿ+ÿAÿ1Bÿÿÿ ÿ
  2ÿ 0*ÿ61)ÿC'ÿÿ1ÿÿ3 ÿÿ1+ÿ>0+1ÿ,?7ÿ; ÿÿ1ÿÿ
  20ÿ 6'ÿ37ÿ223ÿ+ÿA0ÿ+ÿÿ1ÿÿ2ÿ3/ÿÿÿÿÿ1ÿÿ8ÿ
  22ÿ 3/DBÿ0ÿ'ÿÿ'ÿ()ÿ*ÿ+ÿ1ÿÿ+ÿÿ!"#$ÿEÿÿ
  23ÿ 34ÿ 'ÿ1)ÿ ÿ3+ÿ07ÿ,ÿ ÿ+ÿ+ÿ (7ÿ
  24ÿ ÿF 7ÿ+ÿÿÿ1ÿ+ÿ'+ÿ3+ÿ+ÿÿ ÿ0ÿ1()ÿ3ÿ
  25ÿ ÿ+ÿGÿ:ÿ,ÿ'ÿÿ*1ÿ+ÿ1ÿ1(ÿÿ: /ÿ+ÿ1)ÿA1Bÿ3 ÿ
  26ÿ ÿ+ÿ'ÿHÿ=1(7ÿÿ6')ÿ047ÿ2237ÿ,ÿ+ÿÿ-ÿ3+ÿ0.'ÿ
  27ÿ I 1ÿ,ÿ3 ÿ6J3ÿ8ÿÿ; *7ÿ3+ÿ,ÿ3 ÿK+ÿ: /ÿ((ÿÿÿ3 ÿ7J3ÿ
  28ÿ 08ÿ*ÿ0.'ÿI 1ÿ0ÿ'ÿÿ'ÿ()ÿ*ÿÿ+ÿ,ÿ/ÿ+ÿ+3ÿ
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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24
                                  ID #:2273
                                                          Page 159 of 211 Page




   0ÿ ÿÿÿÿÿÿ !"#$%&ÿ()ÿ*ÿÿÿ+ÿ,-ÿ.ÿ
   2ÿ  ÿ/ÿÿÿÿ,0ÿ1ÿ2)ÿ
   3ÿ        35)ÿ 1ÿ41-ÿÿ+115ÿ.ÿÿÿÿ+ÿÿ/ÿ-ÿ61)ÿ
   4ÿ 7ÿ81ÿ+11ÿ295ÿ.ÿ61ÿÿ ÿ/ÿÿÿ/ÿ61)ÿ9ÿ
   5ÿ -,ÿÿ:-ÿ ;ÿ/ ÿ1ÿÿÿ<-8ÿ1ÿ ÿ.ÿ,1)ÿÿ
   6ÿ        36)ÿ .ÿ0ÿÿ/ÿÿÿ1,ÿÿ-ÿ ÿ81ÿÿÿ,)ÿ7ÿ
   7ÿ ÿ81ÿ+11ÿ305ÿ.ÿÿÿ ÿÿ+ÿ*1,,ÿ-ÿ-ÿ=ÿÿ
   8ÿ -ÿ )ÿ>15ÿ.ÿÿÿ ÿÿ,5ÿ-ÿ-ÿ ÿ/ÿ,ÿ
   9ÿ ÿÿ,0)ÿ.ÿÿÿ* 0ÿ1ÿ/ÿ+ÿ81ÿÿ-ÿ )ÿ
  0ÿ  !"#$%&ÿ?ÿÿÿ1ÿÿ1ÿ,-ÿÿÿÿ.ÿ0ÿÿÿÿ.ÿ
  00ÿ ÿÿÿ-ÿ )ÿ
  02ÿ 37)ÿ @ -5ÿÿ81ÿ*,8ÿ85ÿ+ÿÿÿ1,ÿÿÿ-ÿAÿ
  03ÿ  ÿ/ÿ*0-5ÿ/ÿ/ ÿ1,,ÿÿ8ÿ-ÿ/ÿ1ÿ )ÿ*0-ÿÿ
  04ÿ B-ÿ/ ÿÿ0ÿÿÿÿ-ÿ)ÿ
  05ÿ 38)ÿ .ÿ/ ÿÿÿ/5ÿ81ÿÿ/0ÿÿ.ÿ,ÿÿB-ÿ-ÿ
  06ÿ ÿÿÿB-5ÿÿ.ÿ /ÿ1,ÿ1,ÿÿ/ÿ-ÿ=ÿ)ÿÿ
  07ÿ +ÿÿÿÿÿÿ/0ÿ/1ÿ8ÿÿÿ:ÿ;ÿÿÿ
  08ÿ B-ÿÿ-ÿ)ÿ.ÿÿÿÿÿÿÿ-ÿÿ81ÿ.ÿÿÿÿ
  09ÿ /ÿÿ1,)ÿ
  2ÿ 39)ÿ .ÿÿÿ* 0ÿÿ-ÿÿÿ8ÿ00ÿ/0ÿÿ.ÿ,ÿÿ
  20ÿ B-5ÿ/ÿ/ ÿÿ/0ÿÿÿÿC/0ÿ D1ÿÿ/ ÿ
  22ÿ 1,,ÿÿ0ÿÿÿB-ÿÿ-ÿ)ÿ+ÿÿÿÿÿ,1ÿ
  23ÿ /ÿÿÿÿÿ/ 1)ÿ !"#$%&ÿEÿÿÿ1ÿÿ1ÿ,-ÿÿ
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  25ÿ 4)ÿ 7ÿ81ÿ78ÿ85ÿ2235ÿ+ ÿÿÿ-ÿBÿ-ÿÿ
  26ÿ 1ÿÿ -)ÿ.ÿÿÿÿ1ÿÿ1ÿBÿ,ÿÿÿ-ÿ
  27ÿ ÿB5ÿÿ+ ÿBÿÿÿÿ78ÿ0)ÿ !"#$%&ÿ
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Case 2:24-cv-07660-SPG-JPR    Document 17 Filed 09/09/24
                                   ID #:2274
                                                            Page 160 of 211 Page




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24
                                  ID #:2275
                                                          Page 161 of 211 Page




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24
                                  ID #:2276
                                                          Page 162 of 211 Page




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 163 of 211 Page
                                  ID #:2277




                      Attachment A




                                                                      EX 22
                                                                       2031
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 164 of 211 Page
                                  ID #:2278




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                                                                       EX 22
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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 165 of 211 Page
                                  ID #:2279




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                                                                          2033
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 166 of 211 Page
                                  ID #:2280




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 167 of 211 Page
                                  ID #:2281




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 168 of 211 Page
                                  ID #:2282




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 169 of 211 Page
                                  ID #:2283




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 170 of 211 Page
                                  ID #:2284




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 171 of 211 Page
                                  ID #:2285




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 172 of 211 Page
                                  ID #:2286




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 173 of 211 Page
                                  ID #:2287




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 174 of 211 Page
                                  ID #:2288




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 175 of 211 Page
                                  ID #:2289




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 176 of 211 Page
                                  ID #:2290




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 177 of 211 Page
                                  ID #:2291




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                                                                         2045
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 178 of 211 Page
                                  ID #:2292




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                                                                       2046
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 179 of 211 Page
                                  ID #:2293




                                                                      EX 22
                                                                       2047
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 180 of 211 Page
                                  ID #:2294




                      Attachment B




                                                                      EX 22
                                                                       2048
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 181 of 211 Page
                                  ID #:2295




                                                                                 EX 22
                                                                                  2049
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 182 of 211 Page
                                  ID #:2296




                                                                                 EX 22
                                                                                  2050
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 183 of 211 Page
                                  ID #:2297




                                                                                 EX 22
                                                                                  2051
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 184 of 211 Page
                                  ID #:2298




                                                                                 EX 22
                                                                                  2052
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 185 of 211 Page
                                  ID #:2299




                                                                                 EX 22
                                                                                  2053
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 186 of 211 Page
                                  ID #:2300




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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 187 of 211 Page
                                  ID #:2301




                                                                                 EX 22
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Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 188 of 211 Page
                                  ID #:2302




                      Attachment C




                                                                      EX 22
                                                                       2056
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 189 of 211 Page
                                  ID #:2303




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                                                                       2057
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 190 of 211 Page
                                  ID #:2304




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                                                                        2058
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 191 of 211 Page
                                  ID #:2305




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                                                                        2059
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 192 of 211 Page
                                  ID #:2306




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                                                                       2060
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 193 of 211 Page
                                  ID #:2307




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                                                                       2061
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 194 of 211 Page
                                  ID #:2308




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                                                                         2062
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 195 of 211 Page
                                  ID #:2309




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                                                                          EX 22
                                                                           2063
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 196 of 211 Page
                                  ID #:2310




                      Attachment D




                                                                      EX 22
                                                                       2064
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 197 of 211 Page
                                  ID #:2311




                                                                          22
                                                                          82
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 198 of 211 Page
                                  ID #:2312




                                                                      EX 22
                                                                       2065
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 199 of 211 Page
                                  ID #:2313




                                                                      EX 22
                                                                       2066
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 200 of 211 Page
                                  ID #:2314




                                                                      EX 22
                                                                       2067
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 201 of 211 Page
                                  ID #:2315




                                                                      EX 22
                                                                       2068
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 202 of 211 Page
                                  ID #:2316




                                                                      EX 22
                                                                       2069
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 203 of 211 Page
                                  ID #:2317




                                                                      EX 22
                                                                       2070
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 204 of 211 Page
                                  ID #:2318




                                                                      EX 22
                                                                       2071
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 205 of 211 Page
                                  ID #:2319




                                                                      EX 22
                                                                       2072
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 206 of 211 Page
                                  ID #:2320




                                                                      EX 22
                                                                       2073
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 207 of 211 Page
                                  ID #:2321




                                                                      EX 22
                                                                       2074
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 208 of 211 Page
                                  ID #:2322




                                                                      EX 22
                                                                       2075
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 209 of 211 Page
                                  ID #:2323




                                                                      EX 22
                                                                       2076
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 210 of 211 Page
                                  ID #:2324




                                                                      EX 22
                                                                       2077
Case 2:24-cv-07660-SPG-JPR   Document 17 Filed 09/09/24   Page 211 of 211 Page
                                  ID #:2325




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